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                      EXHIBIT         15
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·1

·2·   ·UNITED STATES DISTRICT COURT
· ·   ·SOUTHERN DISTRICT OF NEW YORK
·3·   ·-----------------------------------x
· ·   ·JENNIFER CARPENTER,
·4
· ·   ·   ·   ·   ·   ·   ·   · · · · · · ·Plaintiff,
·5·   ·   ·   ·   ·   ·   ·   Case No.
· ·   ·   ·   ·   ·   ·   ·   7:15-cv-00661-NSR
·6·   ·   ·   ·   ·   ·   ·   · · - against -

·7·   ·CITY OF MOUNT VERNON, MAYOR ERNEST DAVIS,
· ·   ·COMMISSIONER TERRENCE RAYNOR, CHIEF JAMES
·8·   ·M. DUMSER, DEPUTY COMMISSIONER RICHARD BURKE,
· ·   ·CAPTAIN MICHAEL GOLDMAN, LIEUTENANT
·9·   ·PAUL NAWROCKI, LIEUTENANT MARIO CURZIO,
· ·   ·and LIEUTENANT JOSEPH HUNCE, in their
10·   ·official and individual capacities,

11· · · · · · · · · · · · · ·Defendants.
· · ·-----------------------------------x
12

13· · · · · EXAMINATION BEFORE TRIAL of the

14· ·Plaintiff, JENNIFER CARPENTER, taken pursuant

15· ·to Notice, held at Mount Vernon City Hall,

16· ·1 Roosevelt Square North, Mount Vernon, New

17· ·York 10550, on March 27, 2017, commencing at

18· ·10:15 a.m., before Judy Rosenberg, a Shorthand

19· ·Reporter and Notary Public within and for the

20· ·State of New York.

21

22

23·   ·   ·   ·   · · ·SANDY SAUNDERS REPORTING
· ·   ·   ·   ·   ·254 South Main Street, Suite 216
24·   ·   ·   ·   · · ·New City, New York 10956
· ·   ·   ·   ·   · · · · · (845) 634-7561
25
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·2· · ·A P P E A R A N C E S:

·3

·4
· ·   ·   ·   ·   LEEDS BROWN LAW, P.C.
·5·   ·   ·   ·   Attorneys for Plaintiff
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·6·   ·   ·   ·   · · ·Carle Place, New York 11514

·7· · · · BY:· SAM B. SMITH, ESQ.

·8

·9·   ·   ·   ·   COUGHLIN & GERHART, LLP
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10·   ·   ·   ·   · · ·99 Corporate Drive
· ·   ·   ·   ·   · · ·P.O. BOX 2039
11·   ·   ·   ·   · · ·Binghamton, New York 13902

12· · · · BY:· PAUL J. SWEENEY, ESQ.

13

14

15

16· ·ALSO PRESENT:

17·   ·   ·   ·Alec Francis
· ·   ·   ·   ·Police Officer/Investigator
18·   ·   ·   ·Internal Affairs
· ·   ·   ·   ·City of Mount Vernon Police Department
19

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21· · · · · · *· · ·*· · ·*· · ·*· · ·*

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·2

·3

·4· · · · · · · · · · · ·STIPULATIONS

·5

·6

·7· · · · · · ·IT IS HEREBY STIPULATED AND AGREED

·8· ·by and between the attorneys for the respective

·9· ·parties hereto that filing, sealing and

10· ·certification be and the same hereby are

11· ·waived.

12· · · · · · ·IT IS FURTHER STIPULATED AND AGREED

13· ·that all objections, except as to the form of

14· ·the question, are reserved to the time of the

15· ·trial.

16· · · · · · ·IT IS FURTHER STIPULATED AND AGREED

17· ·that the within examination may be signed and

18· ·sworn to before any Notary Public with the same

19· ·force and effect as though signed and sworn to

20· ·before this Court.

21

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23

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25


                                                                         YVer1f
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·1

·2· · · ·J E N N I F E R· ·C A R P E N T E R, having

·3· ·been first duly sworn by a Notary Public within

·4· ·and for the State of New York, was examined and

·5· ·testified under oath as follows:

·6

·7· ·EXAMINATION BY MR. SWEENEY:

·8· · · · · Q· · Please state your name for the

·9· ·record.

10· · · · · A· · Jennifer Carpenter.

11· · · · · Q· · Please state your business address

12· ·for the record.

13· · · · · A· · 2 Roosevelt Square North, Mount

14· ·Vernon, New York 10550.

15· · · · · · · ·MR. SWEENEY:· Mark these, please.

16· · · · · · · ·(Documents are marked Defendants'

17· · · · · Exhibits A through DDD for

18· · · · · identification, as of this date.)

19· · · · · Q· · Sergeant Carpenter, I am Paul

20· ·Sweeney from Coughlin & Gerhart.· I represent

21· ·the City of Mount Vernon and the other

22· ·defendants in this lawsuit that you have

23· ·brought against the City of Mount Vernon and

24· ·the defendants.

25· · · · · · · ·I am going to ask you some


                                                                         YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·questions under oath today.· If at any time you

·3· ·don't understand my questions or want me to

·4· ·rephrase it, ask it again, ask it a different

·5· ·way, I will be happy to do that.· I am going to

·6· ·assume that if you answer the question the way

·7· ·I asked it, that you understood.· Is that a

·8· ·fair assumption?

·9· · · · · A· · Yes.

10· · · · · Q· · And just for the record, are you

11· ·taking any medications today that would prevent

12· ·you from testifying?

13· · · · · A· · No, I'm not.

14· · · · · Q· · Can you tell me a little bit about

15· ·your educational background?

16· · · · · A· · My educational background?· I went

17· ·to all the, you know, local schools.            I

18· ·graduated high school.

19· · · · · Q· · Which high school?

20· · · · · A· · Mount Vernon High School.

21· · · · · Q· · Okay.

22· · · · · A· · I went to Westchester Community

23· ·College.· I got an associate's degree.

24· · · · · Q· · In what?

25· · · · · A· · In criminal justice.· And I got --


                                                                         YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·I went to John Jay College of Criminal Justice,

·3· ·and I got a bachelor's degree in criminal

·4· ·justice.

·5· · · · · Q· · What year did you graduate John

·6· ·Jay?

·7· · · · · A· · John Jay, I graduated in 2004.

·8· · · · · Q· · How about high school, what year?

·9· · · · · A· · High school, 1982.

10· · · · · Q· · And any education past John Jay?

11· · · · · A· · Just a lot of training, just the

12· ·law enforcement training associated with my

13· ·job.

14· · · · · Q· · In terms of training to be a

15· ·police officer, you went to the police academy?

16· · · · · A· · Yes, I did.

17· · · · · Q· · What year was that?

18· · · · · A· · 1994.

19· · · · · Q· · And that was at Westchester

20· ·County?

21· · · · · A· · Yes.· It was actually -- I went to

22· ·the police academy twice.· I started my career

23· ·as a housing officer.

24· · · · · Q· · Housing with New York City?

25· · · · · A· · Mount Vernon used to have a


                                                                         YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·housing.

·3· · · · · Q· · Did you complete that first

·4· ·academy?

·5· · · · · A· · I did.· The first academy was

·6· ·peace officer status, so it's less training

·7· ·than the traditional police officer status.

·8· · · · · Q· · And what year was that?

·9· · · · · A· · That was in 1992.

10· · · · · Q· · And there came a time where you

11· ·went to a second academy?

12· · · · · A· · I went back to the police academy.

13· ·Once I came over to the city of -- joined the

14· ·City of Mount Vernon Police Department in 1994,

15· ·then I went to the academy fulfilling their

16· ·requirements.

17· · · · · Q· · So you graduated from the second

18· ·police academy to be a police officer?

19· · · · · A· · Right.

20· · · · · Q· · In 1994?

21· · · · · A· · In 1994.

22· · · · · Q· · Any formalized training past the

23· ·police academy, like the F.B.I. academy or any

24· ·other training like that?

25· · · · · A· · I have gone to -- I have been


                                                                         YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·trained with the F.B.I.· I've trained with

·3· ·Homeland Security.· I have trained with other

·4· ·agencies.

·5· · · · · Q· · Is that like long-distance

·6· ·education, as opposed to did you go down to

·7· ·Quantico, Virginia to join the FBI Academy?

·8· · · · · A· · No, just different training

·9· ·courses that I was able to take.

10· · · · · Q· · All your training courses that you

11· ·completed, evidence of that would be in your

12· ·personnel file?

13· · · · · A· · It should be, yeah.

14· · · · · Q· · Can you tell me a little bit about

15· ·your family status?· You mentioned I think off

16· ·the record you have a daughter?

17· · · · · A· · Yes.

18· · · · · Q· · Can you tell me about your family?

19· · · · · A· · I have a husband, a daughter,

20· ·sisters.

21· · · · · Q· · Your husband, is he employed

22· ·outside of home?

23· · · · · A· · Yes, he is.

24· · · · · Q· · What does he do for a living?

25· · · · · A· · He's a police officer.


                                                                         YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And for the record, what is his

·3· ·name?

·4· · · · · A· · Daniel.

·5· · · · · Q· · Carpenter?

·6· · · · · A· · Yes.

·7· · · · · Q· · And he is employed by Mount

·8· ·Vernon?

·9· · · · · A· · No, he's not.

10· · · · · Q· · Who is he employed by?

11· · · · · A· · Yonkers.

12· · · · · Q· · Yonkers city?

13· · · · · A· · Yes.

14· · · · · Q· · And you have one daughter?

15· · · · · A· · Yes, I do.

16· · · · · Q· · And what is her name?

17· · · · · A· ·              .

18· · · · · Q· · And how old is                  ?

19· · · · · A· · She's 11.

20· · · · · Q· · Any other children of the

21· ·marriage --

22· · · · · A· · No.

23· · · · · Q· · -- other than                  ?

24· · · · · · · ·Can you tell me a little bit about

25· ·your employment with Mount Vernon police?· You
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·1· · · · · · · · · · · Carpenter

·2· ·graduated the second academy in 1994?

·3· · · · · A· · Yes.

·4· · · · · Q· · And then you started as a patrol

·5· ·person?

·6· · · · · A· · Right.

·7· · · · · Q· · What were your initial duties at

·8· ·that time?

·9· · · · · A· · Patrol, yeah, just typical patrol

10· ·functions.

11· · · · · Q· · How long did you do patrol?

12· · · · · A· · I did that from 1994 to 1998.

13· · · · · Q· · And what happened in 1998?

14· · · · · A· · I was reassigned to the Detective

15· ·Division.

16· · · · · Q· · And what assignments did you have

17· ·at the Detective Division?

18· · · · · A· · I worked -- I was assigned at that

19· ·time to the Narcotics Unit.

20· · · · · Q· · And who was your immediate

21· ·superiors in Narcotics Unit?

22· · · · · A· · Mark Hackett, Sergeant Hackett.

23· · · · · Q· · Anyone else?

24· · · · · A· · Robert Kelly.

25· · · · · Q· · Was he --


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · He was the captain.

·3· · · · · Q· · So you worked for Sergeant

·4· ·Hackett?

·5· · · · · A· · Right.

·6· · · · · Q· · And he in turn reported to Captain

·7· ·Kelly?

·8· · · · · A· · Right.

·9· · · · · Q· · In your patrol years, do you

10· ·recall who your supervisors were then?

11· · · · · A· · Yes.· Sergeant Gormley, at one

12· ·time Lieutenant Dumser and Lieutenant -- I -- I

13· ·believe it was Curzio.· No, I think he was a

14· ·sergeant at the time.

15· · · · · Q· · And in the detective bureau, you

16· ·worked primarily in the Narcotics Unit?

17· · · · · A· · No, I worked in Narcotics Unit for

18· ·about a year, and then I was transferred to the

19· ·General Investigations Unit.

20· · · · · Q· · And did you have a different

21· ·supervisor in General Investigations?

22· · · · · A· · I worked under -- Robert Kelly was

23· ·the commanding officer, and John Roland was the

24· ·sergeant executive officer -- no, I'm sorry, it

25· ·was John Roland and Lieutenant Dumser was in


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·the Detective Division at the time.

·3· · · · · Q· · So Narcotics, General

·4· ·Investigation, any other assignments in the

·5· ·Detective Division?

·6· · · · · A· · I worked Major Case, homicide.

·7· · · · · Q· · And who was your supervisor in

·8· ·Major Case or homicide?

·9· · · · · A· · We reported to John Roland,

10· ·Sergeant Roland.· There was no separate major

11· ·case.· We just reported to the same

12· ·supervisors.

13· · · · · Q· · Any other assignments in the

14· ·Detective Division?

15· · · · · A· · I went from major case to the

16· ·Youth Unit.

17· · · · · Q· · And any different supervisor in

18· ·the Youth Unit?

19· · · · · A· · In the Youth Unit it was -- at

20· ·that time they had changed the leadership in

21· ·the Detective Division.· It was Captain

22· ·Fuccillo.· There were so many changes during

23· ·that time.

24· · · · · · · ·I know Fuccillo was there, and I

25· ·believe that one time -- Captain Pizzuti, he


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·was there during the time when I was in the

·3· ·major case, and then Captain Fuccillo came

·4· ·upstairs.

·5· · · · · Q· · Any other assignments in the

·6· ·Detective Division other than the ones you

·7· ·listed?

·8· · · · · A· · I worked for the Intelligence

·9· ·Center.

10· · · · · Q· · Any different supervisor for the

11· ·Intelligence Center?

12· · · · · A· · At that time, Robert Kelly was the

13· ·supervisor of the Intelligence Center; I worked

14· ·underneath him.

15· · · · · Q· · Any other assignments?

16· · · · · A· · Not -- that's it for the Detective

17· ·Division.

18· · · · · Q· · And what happened after the

19· ·Detective Division?

20· · · · · A· · I got promoted.

21· · · · · Q· · To sergeant?

22· · · · · A· · Yes, I did, I got promoted.

23· · · · · Q· · What year was that?

24· · · · · A· · That was December 2011.

25· · · · · Q· · And then what happened?· Did you


                                                                       YVer1f
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                                                                      14


·1· · · · · · · · · · · Carpenter

·2· ·have a different assignment in December of 2011

·3· ·when you got promoted?

·4· · · · · A· · Yes, I did.

·5· · · · · Q· · Where did you go?

·6· · · · · A· · I went into the squad to supervise

·7· ·the officers in patrol.· I went to the patrol

·8· ·division.

·9· · · · · Q· · And in December of 2011, do you

10· ·recall who your supervisor was then?

11· · · · · A· · December 2011, it was Lieutenant

12· ·Paul Nawrocki.

13· · · · · Q· · Did there come a time when you had

14· ·a different supervisor after Lieutenant

15· ·Nawrocki?

16· · · · · A· · After Lieutenant Nawrocki, it was

17· ·Lieutenant Curzio.

18· · · · · Q· · Any other supervisors after

19· ·Curzio?

20· · · · · A· · No.

21· · · · · Q· · For how long did you serve in

22· ·the patrol division that you started in

23· ·December of 2011?

24· · · · · A· · Till current.

25· · · · · Q· · Are you currently assigned to the


                                                                       YVer1f
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                                                                      15


·1· · · · · · · · · · · Carpenter

·2· ·patrol division?

·3· · · · · A· · Right.

·4· · · · · Q· · Did you have a break where you did

·5· ·some other duties other than patrol division

·6· ·duties?

·7· · · · · A· · Well, after I returned from the

·8· ·injury, I was assigned to develop our 21st

·9· ·Century Police Initiative.

10· · · · · Q· · In what unit or division did you

11· ·fall under for that assignment?

12· · · · · A· · Well, it really is -- it fell --

13· ·fell under the patrol division.

14· · · · · Q· · Did you have an immediate

15· ·supervisor in that particular assignment other

16· ·than Lieutenant Curzio or --

17· · · · · A· · No.· 21st Century Policing

18· ·Initiative is a policing model.· So although my

19· ·desk was in the patrol division, I was

20· ·initially reporting directly to the

21· ·commissioner at the time, who was Robert Kelly.

22· · · · · Q· · And what time frame was this?

23· · · · · A· · This was from January of 2016 till

24· ·March of 2016.

25· · · · · Q· · Was the police commissioner Robert


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·Kelly for that entire duration?

·3· · · · · A· · Yes.

·4· · · · · Q· · And then there came a time where

·5· ·you left that assignment?

·6· · · · · A· · No, when Robert Kelly was no

·7· ·longer with us and Ronald Fatigate became

·8· ·acting commissioner, there was no -- I

·9· ·continued in the assignment, but as far as who

10· ·I reported to, it was not clear.· So I just

11· ·continued to work, and I just pretty much kept

12· ·him abreast of what was needed.

13· · · · · Q· · When you say him, do you mean

14· ·Fatigate?

15· · · · · A· · Fatigate.

16· · · · · Q· · Did there come a time where the

17· ·21st Century Policing Initiative work that you

18· ·were doing ended and you were transferred to

19· ·other duties?

20· · · · · A· · No.

21· · · · · Q· · You still currently are still

22· ·doing that same assignment?

23· · · · · A· · Yes.

24· · · · · Q· · Currently, you said it was unclear

25· ·as to your reporting command.· Who do you


                                                                       YVer1f
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                                                                      17


·1· · · · · · · · · · · Carpenter

·2· ·report to now?

·3· · · · · A· · I just -- the 21st Century

·4· ·Policing Initiative is a policing model.· And

·5· ·as the coordinator of the 21st Century Policing

·6· ·Initiative, my duties is to help coordinate

·7· ·that policing model with every aspect of the

·8· ·department.

·9· · · · · · · ·So what I do is, the -- the goal

10· ·of the department is to develop -- the goal of

11· ·the 21st Century Policing Initiative is to

12· ·develop the Mount Vernon Police Department as a

13· ·community policing department.

14· · · · · · · ·And so what I do is, a lot of the

15· ·community engagement developing the

16· ·relationships is an important part, building

17· ·trust in the community and building a

18· ·collaborative team between the community,

19· ·including faith-based schools so that we can

20· ·produce public safety together.

21· · · · · · · ·So what I've been doing is working

22· ·to develop those initiatives and the

23· ·collaboration with the community so that we

24· ·can -- and that's 21st Century Policing

25· ·Initiative.


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Other than criminal proceedings in

·3· ·which you may have testified as an officer or

·4· ·as a sergeant, have you testified in any other

·5· ·proceedings, lawsuits, litigation, civil?

·6· · · · · A· · Not that I remember.

·7· · · · · Q· · Have you brought any other

·8· ·lawsuits?

·9· · · · · A· · No.

10· · · · · Q· · This is your first lawsuit you

11· ·have ever filed, is the one we are here for

12· ·today, right?

13· · · · · A· · Yes.

14· · · · · Q· · Other than in those claims that

15· ·you filed in this particular matter, which we

16· ·will get to, have you filed any other notices

17· ·of claim against Mount Vernon?

18· · · · · A· · No.

19· · · · · Q· · In your complaint, at Paragraph

20· ·19, you allege that you were not introduced at

21· ·roll call -- I think this is in the January

22· ·2012 time frame -- by Lieutenant Nawrocki?

23· · · · · A· · Right.

24· · · · · Q· · Do you recall that allegation?

25· · · · · A· · I do.


                                                                       YVer1f
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                                                                      19


·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Can you tell me a little bit about

·3· ·that circumstance?

·4· · · · · A· · Well, we were in roll call, and it

·5· ·was our first day.· It was my first day in roll

·6· ·call.· I previously -- I was assigned to the

·7· ·Intelligence Unit, Intelligence Center in White

·8· ·Plains.

·9· · · · · · · ·So this being my first roll call,

10· ·I wasn't familiar with the officers, and they

11· ·weren't familiar with me.· And so Lieutenant

12· ·Nawrocki conducts roll call, and he never

13· ·introduced me.

14· · · · · Q· · You indicated Lieutenant Nawrocki

15· ·did the roll call.· Is there any protocol about

16· ·who does the roll call between a sergeant and a

17· ·lieutenant?

18· · · · · A· · As far as who does the roll call?

19· · · · · Q· · Yes, who does it?

20· · · · · A· · No, I -- it -- the -- the

21· ·lieutenant is the commanding officer, so he

22· ·pretty much decides who does the roll call.

23· · · · · Q· · So a lieutenant can do his own

24· ·roll call?

25· · · · · A· · Yes.


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Or the lieutenant can delegate to

·3· ·the sergeant?

·4· · · · · A· · Yes.

·5· · · · · · · ·MR. SWEENEY:· Just wait until he

·6· · · · · finishes the question and then answer.

·7· · · · · · · ·THE WITNESS:· Okay.

·8· · · · · Q· · Did you make a complaint to anyone

·9· ·that you were not introduced at the roll call

10· ·at that time?

11· · · · · A· · I did.

12· · · · · Q· · Who did you complain to?

13· · · · · A· · I complained to him.

14· · · · · Q· · When did you complain to him at

15· ·that time?

16· · · · · A· · At that time.

17· · · · · Q· · Did you do that orally or in

18· ·writing?

19· · · · · A· · Orally.

20· · · · · Q· · And what did you say, what did he

21· ·say back?

22· · · · · A· · I said -- he said -- I said, You

23· ·didn't introduce me.· And so he said, Oh,

24· ·well -- prior to him saying -- prior to that,

25· ·he looks at me and says, Do you have anything


                                                                       YVer1f
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                                                                      21


·1· · · · · · · · · · · Carpenter

·2· ·to add?· So here I am standing there in

·3· ·uniform, my first day as supervisor, and you

·4· ·know, it's their first day seeing this person

·5· ·that they haven't seen.· And I said, Well, you

·6· ·didn't introduce me.· So he said, Oh, oh, oh,

·7· ·okay.· Well, this is Sergeant Carpenter.· Like

·8· ·that.

·9· · · · · Q· · So he did introduce you at the

10· ·roll call?

11· · · · · A· · Afterwards, yes.

12· · · · · Q· · But to the officers present?

13· · · · · A· · Yes.

14· · · · · Q· · Do you believe you suffered any

15· ·adverse personal action or consequences because

16· ·of the way he handled that?

17· · · · · A· · Absolutely.· Our rules and

18· ·regulations state that every member should know

19· ·who their superior officer is.· And by doing

20· ·that, you deny them the opportunity, first of

21· ·all, to know who their superior officer is and

22· ·who they should be reporting to.

23· · · · · Q· · But as I understand your

24· ·testimony, he did introduce you after you

25· ·pointed out that you were not introduced?


                                                                       YVer1f
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                                                                      22


·1· · · · · · · · · · · Carpenter

·2· · · · · A· · After I pointed out that I was not

·3· ·introduced, correct.

·4· · · · · Q· · So the officers that were present

·5· ·for that roll call, when they went away from

·6· ·roll call, they knew who you were?

·7· · · · · A· · They knew who I was, but it also

·8· ·set a tone.· This was my first time as an

·9· ·African-American female supervising these

10· ·officers, and for the most part it was their

11· ·first time.· Considering I was the first

12· ·African-American female in the history of the

13· ·Mount Vernon Police Department, it was these

14· ·officers' first time, everyone's first time of

15· ·being aware that there was an African-American

16· ·female supervising in the City of Mount Vernon

17· ·Police Department.

18· · · · · · · ·So that was an adjustment that, a

19· ·culture change that had taken place at that

20· ·time, and he impacted how that change took

21· ·place by not introducing me.

22· · · · · Q· · As I understand though your

23· ·testimony, he did introduce you, is that right?

24· · · · · A· · He did.

25· · · · · Q· · Did there come a time, Sergeant


                                                                       YVer1f
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                                                                      23


·1· · · · · · · · · · · Carpenter

·2· ·Carpenter, where you tried to discipline

·3· ·several female police officers in the Mount

·4· ·Vernon Police Department?

·5· · · · · A· · Yes.

·6· · · · · Q· · I am going to hand you what's

·7· ·marked as Defendants' Exhibit A, which is Bates

·8· ·stamped numbers 151 through 154, and it is

·9· ·dated on the top November 10, 2011.

10· · · · · · · ·(Mr. Sweeney hands document

11· · · · · to witness.)

12· · · · · Q· · Do you recognize Defendants'

13· ·Exhibit A, Sergeant Carpenter?

14· · · · · A· · Yes, I do.

15· · · · · Q· · What is it?

16· · · · · A· · This is a complaint I filed with

17· ·Internal Affairs on November 10, 2011.

18· · · · · Q· · And where were you working at that

19· ·time?

20· · · · · A· · At that time, I was working in the

21· ·Detective Division.

22· · · · · Q· · And is that a complaint against a

23· ·particular officer?

24· · · · · A· · Yes, it is.

25· · · · · Q· · What officer is that?


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · This was Officer                         .

·3· · · · · Q· · And what was the purpose of you

·4· ·referring her for discipline?

·5· · · · · A· · Because she lied.· She claimed

·6· ·that I -- during my duties as a PVA board

·7· ·trustee, that I misappropriated funds.· And

·8· ·that was an out and out lie, and that was very,

·9· ·you know -- and it was a lie.

10· · · · · Q· · Who did she make this report that

11· ·you had misappropriated funds to?

12· · · · · A· · To the Internal Affairs, to

13· ·Internal Affairs.

14· · · · · Q· · And how did you hear about it?

15· · · · · A· · How did I hear about it?

16· · · · · Q· · Yes.

17· · · · · A· · She said it.

18· · · · · Q· · To you?

19· · · · · A· · She said it in a meeting.

20· · · · · Q· · When you say a meeting, a PBA

21· ·meeting?

22· · · · · A· · Yes.

23· · · · · Q· · Okay.

24· · · · · A· · And she went and just repeatedly

25· ·kept telling me.
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                                                                      25


·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And based on her report of what

·3· ·she thought was misconduct, you referred her

·4· ·for discipline?

·5· · · · · A· · Yes.

·6· · · · · Q· · Do you know what, if anything,

·7· ·came of the outcome of your referral for

·8· ·discipline?

·9· · · · · A· · Nothing.

10· · · · · Q· · How do you know that?

11· · · · · A· · I was not -- I was not advised of

12· ·that anything ever came of it.

13· · · · · Q· · Okay.· I will take that back.

14· · · · · · · ·(Witness hands document

15· · · · · to Mr. Sweeney.)

16· · · · · Q· · I am going to show you what's

17· ·marked as Defendants' Exhibit B and ask that

18· ·you look at that.

19· · · · · · · ·(Mr. Sweeney hands document

20· · · · · to witness.)

21· · · · · Q· · That's -- I can't read the Bates

22· ·stamp.

23· · · · · A· · Okay.· So this is --

24· · · · · · · ·MR. SMITH:· Just show him the

25· · · · · document.


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·THE WITNESS:· Yes, okay.

·3· · · · · · · ·(Witness hands document

·4· · · · · to Mr. Sweeney.)

·5· · · · · Q· · The Bates stamp is 813 through

·6· ·814.

·7· · · · · A· · Yes.

·8· · · · · Q· · What is B?

·9· · · · · A· · This is a supervisory report that

10· ·I wrote against Officer                         .

11· · · · · Q· · What is the purpose of that

12· ·referral for discipline?

13· · · · · A· · Lieutenant Nawrocki, the

14· ·commanding officer of the squad at the time,

15· ·asked -- advised me to write her up because

16· ·she -- because he noticed that her stats

17· ·were -- that she was not writing tickets on

18· ·her -- during her midnight tours.

19· · · · · Q· · Did he say anything else other

20· ·than that reason?

21· · · · · A· · Well, Officer                 was brought

22· ·in and interviewed regarding her lack of

23· ·productivity in midnights.· Officer                    did

24· ·not dispute the findings and further stated her

25· ·reason for not writing traffic summonses on the
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·1· · · · · · · · · · · Carpenter

·2· ·midnight tours was because she felt unsafe.

·3· · · · · · · ·Lieutenant Nawrocki and the

·4· ·undersigned counseled Officer P.O.

·5· ·regarding tactics that should be employed when

·6· ·enforcing such violations.· However, after

·7· ·approximately 20 minutes, P.O.                  continued

·8· ·to maintain that she did not feel safe.

·9· · · · · · · ·P.O.              was advised that she

10· ·must perform her duties, after which she then

11· ·stated maybe after it gets light out on a

12· ·midnight tour, she would attempt to enforce the

13· ·Vehicle and Traffic Law.· P.O.                  was asked

14· ·to complete an MV-5, at which time she restated

15· ·that she felt unsafe.

16· · · · · Q· · I think that covers just asking

17· ·you why she was being written up?

18· · · · · A· · Yes.

19· · · · · Q· · And you read from the document,

20· ·correct?

21· · · · · A· · Yeah, Lieutenant Nawrocki wanted

22· ·her written up for that.

23· · · · · Q· · I am going to show you what is

24· ·marked as Defendants' Exhibit C, which is Bates

25· ·stamped 733 and 734?
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Yeah.

·3· · · · · Q· · And I am going to ask you, what is

·4· ·that?

·5· · · · · A· · An inspection of squad stats --

·6· ·why would this be --

·7· · · · · Q· · That's my question to you,

·8· ·Sergeant Carpenter, is why there is two

·9· ·different versions of that same write-up.

10· · · · · A· · It just looks like -- I guess it

11· ·just -- it's the same thing.

12· · · · · Q· · That was produced I think from

13· ·you, so I am just asking why there are two

14· ·different versions of the same thing.

15· · · · · A· · Two different versions?· They're

16· ·actually identical.

17· · · · · Q· · Well, actually, the words

18· ·contained on the first page are different than

19· ·the words contained on the second page.

20· · · · · · · ·MR. SMITH:· Object to form.

21· · · · · Q· · I think it speaks for itself, but

22· ·they are not identical.

23· · · · · A· · Whatever.

24· · · · · · · ·MR. SMITH:· Can you repeat the

25· · · · · question?


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·(The record is read back by the

·3· · · · · reporter.)

·4· · · · · A· · I don't know.· I noticed that one

·5· ·write-up simply states specifically what the

·6· ·stats were by number and the other one doesn't.

·7· ·However, with regard to Officer                 , the

·8· ·stats, it doesn't change so --

·9· · · · · Q· · I am going to show you what's been

10· ·marked as Exhibit D, which is Bates stamped

11· ·Pages 11 and 12, which is a two-page document,

12· ·looks like a memo to the mayor.

13· · · · · · · ·(Mr. Sweeney hands document

14· · · · · to witness.)

15· · · · · A· · Yes.

16· · · · · · · ·MR. SWEENEY:· Off the record.

17· · · · · · · ·(Discussion held off the record.)

18· · · · · Q· · What is that exhibit?

19· · · · · A· · Yes, this is in response to a -- I

20· ·was told by Lieutenant Nawrocki that an officer

21· ·had filed a complaint against me in Internal

22· ·Affairs and his job was to speak to me.

23· · · · · · · ·And I hadn't seen the complaint, I

24· ·didn't know anything about it, and I was

25· ·concerned that I did not have an opportunity to
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·1· · · · · · · · · · · Carpenter

·2· ·even respond fairly as a supervisor because I

·3· ·didn't even know anything about it.

·4· · · · · Q· · What officer filed a complaint

·5· ·against you in Internal Affairs?

·6· · · · · A· · Officer             .

·7· · · · · Q· · So Officer               filed a complaint

·8· ·against you in Internal Affairs, and why are

·9· ·you writing to the mayor?

10· · · · · A· · Because I had requested -- I had

11· ·spoken to Commissioner Bell, and he advised me

12· ·that he was going to move her from the squad.

13· ·I explained to him that -- yeah, simply that I

14· ·did not have the opportunity to respond.· And I

15· ·was just simply being told that he was supposed

16· ·to speak to me to reprimand me with regard to

17· ·something I knew nothing about.

18· · · · · Q· · Who was going to reprimand you?

19· · · · · A· · Lieutenant Nawrocki.

20· · · · · Q· · So based on your understanding

21· ·that you were going to be reprimanded by

22· ·Lieutenant Nawrocki, you wrote to the mayor

23· ·over that?

24· · · · · A· · Yes.

25· · · · · Q· · And during the November 2012 time
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                                                                      31


·1· · · · · · · · · · · Carpenter

·2· ·frame, what was your chain of command?

·3· · · · · A· · At that time it was Nawrocki and

·4· ·captain -- the chain of command would be the --

·5· ·the next -- the -- after Nawrocki then 'cause

·6· ·he was a lieutenant, then a captain.· Captain

·7· ·Hastings I think would be that person.

·8· · · · · Q· · And then a chief officer above

·9· ·that?

10· · · · · A· · Right.

11· · · · · Q· · And who was the chief officer at

12· ·that time?

13· · · · · A· · At that time, it may have been

14· ·Chief Roland in 2012.

15· · · · · Q· · And then the police commissioner?

16· · · · · A· · Yes.

17· · · · · Q· · And then the mayor?

18· · · · · A· · Yes.

19· · · · · Q· · All right, thank you.

20· · · · · · · ·(Witness hands document

21· · · · · to Mr. Sweeney.)

22· · · · · A· · But the mayor had already made it

23· ·clear to many of us that if we didn't -- if

24· ·there was something that wasn't being handled,

25· ·that he wanted us to notify him.· So he always


                                                                       YVer1f
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                                                                      32


·1· · · · · · · · · · · Carpenter

·2· ·had an open-door policy.

·3· · · · · Q· · Did the mayor tell you that?

·4· · · · · A· · Yes, he did.

·5· · · · · Q· · When did he tell you that?

·6· · · · · A· · I've known the mayor for many

·7· ·years, and he's always said that.

·8· · · · · Q· · Prior to November 29, 2012, when

·9· ·was the last time the mayor -- and I am talking

10· ·about Mayor Ernest Davis --

11· · · · · A· · Right.

12· · · · · Q· · -- told you that?· When was the

13· ·last time he told you that before you went to

14· ·him on this matter on Exhibit D?

15· · · · · A· · He could have told me any number

16· ·of times.· I would always confer with the

17· ·mayor.· He always looked to me for gang

18· ·information or things that were going on in the

19· ·city.· And through the course of conversations,

20· ·I've always had conversations with him.

21· · · · · Q· · I am going to show you what's been

22· ·marked as Defendants' Exhibit E, which is Bates

23· ·stamped Page 17.

24· · · · · · · ·(Mr. Sweeney hands document

25· · · · · to witness.)


                                                                       YVer1f
 Case 7:15-cv-08594-CS Document 60-17 Filed 01/09/18 Page 34 of 212



·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Yes.

·3· · · · · Q· · What is that?

·4· · · · · A· · This is a January 25th -- this is

·5· ·another follow-up letter to Sergeant Scott in

·6· ·Internal Affairs regarding the previous

·7· ·complaints I had filed and I had gotten no

·8· ·response.

·9· · · · · · · ·But also the same day that I sent

10· ·this follow-up, I was summoned to Captain

11· ·Hastings's office in order to provide a written

12· ·explanation answering an accusation that I

13· ·accessed the personnel files of Commissioner

14· ·Bell and Police Officer                  which was not

15· ·true.· There's no way for me to access

16· ·personnel files.

17· · · · · · · ·And so once again as a supervisor,

18· ·I was denied due process for any complaints

19· ·that I filed.· But I was being accused of

20· ·something once again that I incorrectly -- and

21· ·this I was being accused after I followed up

22· ·once again on complaints that as a supervisor I

23· ·wrote and got no response on.

24· · · · · Q· · Who did you make --

25· · · · · A· · It was the same -- excuse me,
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·1· · · · · · · · · · · Carpenter

·2· ·that's the patrol division.· Okay, I'm sorry.

·3· · · · · Q· · Who are the officers whose

·4· ·complaints are referenced in that exhibit?

·5· · · · · A· · This was

·6· · · · · Q· · And Officer               or just

·7· ·

·8· · · · · A· · Just                      .

·9· · · · · Q· · I am going to show you what is

10· ·marked as Exhibits F and G.· F is Bates stamped

11· ·155 through 158 and G is 159 through 161.

12· · · · · · · ·(Mr. Sweeney hands document

13· · · · · to witness.)

14· · · · · A· · Okay.· So these are complaints

15· ·that I filed with Internal Affairs, one

16· ·regarding malicious gossip, one of them

17· ·regarding police officer                        , and the

18· ·other one regarding Police Officer

19· ·      .

20· · · · · Q· · Is the complaint against

21· ·          different than the complaint that you

22· ·referred to before, or is it the same

23· ·complaint?

24· · · · · A· · It's the same complaint that she

25· ·stated that I misappropriated funds during my
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·1· · · · · · · · · · · Carpenter

·2· ·time on the PBA board, which she accused me of

·3· ·hiring an accountant, which was impossible for

·4· ·me to do because I had no control.· I didn't

·5· ·have any control of monies or anything, so

·6· ·there's no way I can misappropriate funds.

·7· · · · · · · ·But this is the type of slander

·8· ·that she persisted with, and this is what I was

·9· ·trying to report and have her disciplined for.

10· · · · · Q· · And what was Officer                 being

11· ·written up for?

12· · · · · A· · Okay.· The complaint to Internal

13· ·Affairs regarding Officer                          was

14· ·also about malicious gossip.· Lieutenant

15· ·Nawrocki had informed me that she had filed a

16· ·complaint with Internal Affairs stating --

17· ·making allegations that I was trying to get her

18· ·fired and that I conducted a roll call training

19· ·that was directed at her and I am sharing

20· ·information with a civilian relative, and that

21· ·information is getting back to her mother.

22· · · · · · · ·And as it turns out the civilian

23· ·relative that she referenced, later found out

24· ·that she, in fact, shared her own information

25· ·with that civilian, which got back to her and
 Case 7:15-cv-08594-CS Document 60-17 Filed 01/09/18 Page 37 of 212



·1· · · · · · · · · · · Carpenter

·2· ·her mother, and I had nothing to do with it.

·3· · · · · Q· · I am going to show you what's

·4· ·marked as Defendants' Exhibit I, which is Bates

·5· ·stamped 118, 119.

·6· · · · · · · ·(Mr. Sweeney hands document

·7· · · · · to witness.)

·8· · · · · A· · Okay.· Okay.· This is a

·9· ·supervisor's write-up that I submitted against

10· ·Police Officer                       .

11· · · · · · · ·MR. SMITH:· Just off the record.

12· · · · · · · ·(Discussion held off the record.)

13· · · · · · · ·MR. SWEENEY:· We are looking at

14· · · · · Defendants' Exhibit I, I think, which is

15· · · · · 811 and 812, Bates stamped.

16· · · · · A· · On October 23rd, I was standing in

17· ·the dispatch room where Officer                  was

18· ·assigned dispatching radio calls.· On this

19· ·particular date, she dispatched a call as a

20· ·possible 10-12.· A 10-12 is a dispute.

21· · · · · · · ·I asked her what is a possible

22· ·10-12.· Officer              advised me that it was

23· ·actually a call that came over 911, and a woman

24· ·was screaming for the police.

25· · · · · · · ·I ordered Officer                  to tell
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·1· · · · · · · · · · · Carpenter

·2· ·the officers, the responding officers, exactly

·3· ·what the woman said.· This was not the first

·4· ·time I had to tell Officer                 the

·5· ·importance of making sure the officers had all

·6· ·the pertinent details of a call to aid them as

·7· ·they responded to the calls.

·8· · · · · · · ·On -- later on October 17th, at

·9· ·approximately 11:20, several calls came into

10· ·the police department regarding a shooting in

11· ·the area of Prospect Avenue.

12· · · · · · · ·As a desk officer, I entered the

13· ·radio room.· I observed Officer                  picking

14· ·up the phone stating we already know and

15· ·hanging up without attempting to solicit any

16· ·details from the callers.

17· · · · · · · ·I had asked her, Officer                   ,

18· ·to question the callers further to determine if

19· ·they were possible witnesses or had information

20· ·pertinent to the investigation and if so to

21· ·inform the responding officers.

22· · · · · · · ·Officer               appeared to be

23· ·overwhelmed, unable to perform the necessary

24· ·task in spite of the inherent danger the

25· ·responding officers were facing, as well as
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·1· · · · · · · · · · · Carpenter

·2· ·members of the public.

·3· · · · · · · ·On October 24th, during roll call,

·4· ·the undersigned attempted to explain the

·5· ·importance of conveying all pertinent

·6· ·information when officers are assigned to the

·7· ·radio room dispatching calls.

·8· · · · · · · ·I asked Officer                 what was a

·9· ·possible 10-12.· She began her response, like I

10· ·told you.· I asked her to stop.· She attempted

11· ·to continue.· I said to her, I'm not asking you

12· ·any questions.· I just need you to listen.

13· · · · · · · ·Squad three, which is the squad

14· ·that we were assigned to at the time, did not

15· ·have civilian dispatchers, so routinely police

16· ·officers are put into the radio room to

17· ·dispatch the calls.

18· · · · · · · ·And so as a result, I felt it was

19· ·necessary to address the entire squad and

20· ·remind them not only why having enough

21· ·information is critical to how we respond to

22· ·calls but also to remind them of the fact that

23· ·the tape calls are one of the first things

24· ·subpoenaed when a case goes to trial.· All of

25· ·this was part of training.
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·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·And she attempted -- Officer

·3· ·         attempted to interrupt me during this

·4· ·training process as I addressed the squad, as

·5· ·she refused to comply with my repeated orders

·6· ·for her to stop.· Her behavior was

·7· ·disrespectful and insubordinate.

·8· · · · · Q· · Okay.· Thank you.

·9· · · · · · · ·I am going to show you Exhibit J,

10· ·which is Bates stamped 805 through 810.

11· · · · · · · ·(Mr. Sweeney hands document

12· · · · · to witness.)

13· · · · · A· · And what?

14· · · · · Q· · I am just asking you what is that.

15· · · · · A· · This is a complaint, supervisor's

16· ·report that I filed.· Officer -- Probationary

17· ·Police Officer                        .

18· · · · · Q· · You don't have to read it, but why

19· ·was Officer                being written up?

20· · · · · A· · Officer                  was being written

21· ·up because although she was a probationary

22· ·police officer, she was assigned to constant

23· ·watch.· Constant watch is where an officer is

24· ·assigned to watch a prisoner who is determined

25· ·to be a danger to themselves or someone else.
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                                                                      40


·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·And so in this particular case,

·3· ·the prisoner was on extensive medication,

·4· ·schizophrenic, had -- there was a lot of

·5· ·different issues with this particular prisoner

·6· ·that the prisoner was designated a suicide

·7· ·risk.

·8· · · · · · · ·And so when I came in that morning

·9· ·to make sure that the officers in the jail were

10· ·ready for court, this is when I walked in and I

11· ·found her asleep in a separate office away from

12· ·her assigned post.

13· · · · · Q· · And that's why she was written up?

14· · · · · A· · She was written up, yes.

15· · · · · Q· · Do you know what discipline she

16· ·received, if any?

17· · · · · A· · She was able to negotiate terms of

18· ·with the department.

19· · · · · Q· · So she did receive some

20· ·discipline?

21· · · · · A· · She ultimately received -- it was

22· ·written that she ultimately received

23· ·discipline.

24· · · · · Q· · Did you ever have an occasion to

25· ·write up an officer or detective, Motika,


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·M-O-T-I-K-A, I think Day-Jones?

·3· · · · · A· · Not that I remember.

·4· · · · · · · ·MR. SMITH:· Can we take a break

·5· · · · · very briefly?

·6· · · · · · · ·MR. SWEENEY:· Sure.

·7· · · · · · · ·(Whereupon, at this time, a brief

·8· · · · · recess was taken.)

·9· · · · · Q· · I am going to show you what is

10· ·Exhibit K.· Looks like it is Bates stamped 169

11· ·through 171.

12· · · · · · · ·(Mr. Sweeney hands document

13· · · · · to witness.)

14· · · · · Q· · I ask you to take a look at that.

15· · · · · A· · Yeah.

16· · · · · Q· · Without reading it, what is that?

17· ·You can read it to yourself, but without

18· ·reading it into the record, what is that

19· ·document?

20· · · · · A· · This is a complaint against

21· ·Officer             .

22· · · · · Q· · Okay.

23· · · · · A· · Regarding --

24· · · · · Q· · Why was Officer                    being

25· ·written up in that document?· And again, you
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·1· · · · · · · · · · · Carpenter

·2· ·don't have to read the entire thing, just

·3· ·summarize what it was for.

·4· · · · · A· · Sleeping on duty while on constant

·5· ·watch.

·6· · · · · Q· · Is that different than the Exhibit

·7· ·J write-up that you testified to before?

·8· · · · · · · ·(Mr. Sweeney hands document

·9· · · · · to witness.)

10· · · · · A· · This is -- looks like it was --

11· ·something else was taped to this.· This is --

12· ·this is not -- I'm sorry.

13· · · · · Q· · I will see what you ripped off,

14· ·see if it makes a difference.

15· · · · · A· · Yeah, it's two different reports

16· ·that got mixed up probably.

17· · · · · · · ·(Witness hands document

18· · · · · to Mr. Sweeney.)

19· · · · · Q· · I am handing you back Exhibit J.

20· · · · · A· · Right.

21· · · · · Q· · I am handing you back Exhibit K

22· ·without the Page 171 which was attached, and

23· ·they appear to be different write-ups on

24· ·Officer             , right?

25· · · · · · · ·(Mr. Sweeney hands document
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·1· · · · · · · · · · · Carpenter

·2· · · · · to witness.)

·3· · · · · A· · This looks like it wasn't finished

·4· ·(indicating).

·5· · · · · Q· · What do you mean, it wasn't

·6· ·finished?· Looking at Exhibit --

·7· · · · · A· · Yeah, this looks like --

·8· · · · · Q· · -- K, you are saying that was not

·9· ·finished?

10· · · · · A· · Yeah, this looks like a rough

11· ·draft, and then this one is a completed one.

12· · · · · Q· · Looking at Exhibit J?

13· · · · · A· · Exhibit J, yes, this is more

14· ·complete.· Yeah, this has -- yeah, this is

15· ·minus a lot of pages.

16· · · · · Q· · I am just producing to you what

17· ·was produced to us.

18· · · · · A· · Yeah.

19· · · · · · · ·MR. SMITH:· Object to form.

20· · · · · · · ·MR. SWEENEY:· Not really a

21· · · · · question but --

22· · · · · · · ·MR. SMITH:· Right.

23· · · · · Q· · You mentioned before in response

24· ·to a prior question about accessing the

25· ·personnel files of Commissioner Bell and


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·Officer            · Do you recall that?

·3· · · · · A· · Yes.

·4· · · · · Q· · I am handing you Exhibit L, which

·5· ·is Bates stamped number 14.

·6· · · · · · · ·(Mr. Sweeney hands document

·7· · · · · to witness.)

·8· · · · · A· · Right.

·9· · · · · Q· · And what is that?

10· · · · · A· · This is a to/from, from it says

11· ·commanding officer, patrol division, which at

12· ·that time was Captain Hastings, assigned by

13· ·Captain Hastings, and informing me that a

14· ·routine audit of department computer system has

15· ·shown that I accessed personnel records for the

16· ·following:· Commissioner Bell, Cheryl Jaros and

17· ·Commissioner Bell.

18· · · · · Q· · Okay, thanks.

19· · · · · · · ·(Witness hands document

20· · · · · to Mr. Sweeney.)

21· · · · · Q· · I am going to show you what is

22· ·marked as CCC at the bottom, I think it says

23· ·Bates stamped 934.

24· · · · · · · ·(Mr. Sweeney hands document

25· · · · · to witness.)
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · It is a one-page document.

·3· · · · · A· · Yes, this is a copy, looks like,

·4· ·of a personnel performance evaluation.· It's my

·5· ·name as the employee signed by Lieutenant

·6· ·Curzio on May 1, 2013.· With exception to one

·7· ·item, my -- it shows that my -- that Lieutenant

·8· ·Curzio rated me as highly effective in my

·9· ·performance evaluation, giving me all fours,

10· ·with the exception to attendance punctuality,

11· ·he gave me a needs improvement.

12· · · · · Q· · And did you appeal that evaluation

13· ·in any respect?

14· · · · · A· · No, I didn't.

15· · · · · Q· · So you accepted the comments on

16· ·the attendance issues?

17· · · · · A· · I'm sorry?

18· · · · · Q· · You accepted --

19· · · · · A· · I'm sorry, yes, I did.· And I

20· ·apologize, it wasn't -- I was looking at the

21· ·bottom.· It was Lieutenant Nawrocki, not

22· ·Lieutenant Curzio.· I just saw the top, I'm

23· ·sorry.

24· · · · · Q· · And did you appeal from the

25· ·comments on the needs improvement in attendance


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·markings?

·3· · · · · A· · No.

·4· · · · · Q· · I am going to hand you what is

·5· ·marked as Exhibit M, which is Bates stamped 47

·6· ·through 49, a three-page document, and ask that

·7· ·you take a look at that.

·8· · · · · · · ·(Mr. Sweeney hands document

·9· · · · · to witness.)

10· · · · · A· · Okay.

11· · · · · Q· · Do you recognize it?

12· · · · · A· · Yes, I do.

13· · · · · Q· · What is that?

14· · · · · A· · It's a memo I sent to Lieutenant

15· ·Nawrocki dated May 24, 2013.

16· · · · · Q· · And again without reading it into

17· ·the record, what was the purpose for writing

18· ·that memo?

19· · · · · A· · I was requesting an opportunity to

20· ·sit down with him to evaluate what his

21· ·intentions are for the successful development

22· ·of the squad.

23· · · · · Q· · Specifically,                           is

24· ·referenced in that memo?

25· · · · · A· · She is, she is referenced in this.
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And you didn't like the assignment

·3· ·she was receiving, is that correct?

·4· · · · · A· · I felt that she needed to have an

·5· ·opportunity to be developed better.

·6· · · · · Q· · Is it fair to say you disagreed

·7· ·with Lieutenant Nawrocki's development of

·8· ·Officer           ?

·9· · · · · A· · I felt it was -- that we needed to

10· ·discuss it.· I needed -- I didn't understand

11· ·his reasoning.

12· · · · · Q· · Did there come a time where you

13· ·were advised by Lieutenant Nawrocki to control

14· ·your emotions?· Do you recall that allegation

15· ·in a complaint?

16· · · · · A· · I do.

17· · · · · Q· · Paragraph 22?

18· · · · · A· · I do.

19· · · · · Q· · Can you tell me about that?

20· · · · · A· · I was trying to -- it was at the

21· ·desk, and we were having a conversation.· And

22· ·there was other subordinates there and he --

23· · · · · Q· · Who was present other than

24· ·yourself and Lieutenant Nawrocki?

25· · · · · A· · It was Officer Gene Woolsey
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·1· · · · · · · · · · · Carpenter

·2· ·(phonetic), and I'm not sure, I think it was

·3· ·Officer Patterson.

·4· · · · · Q· · Okay.· And what happened and who

·5· ·said what?

·6· · · · · A· · Well, he called me in off the

·7· ·street.· He asked me about an arrest that they

·8· ·had done.· I went in the back and to cell

·9· ·block.· These are senior officers, Officer

10· ·Patterson.

11· · · · · · · ·Got the information for him,

12· ·conveyed it, brought -- conveyed the

13· ·information.· He wasn't satisfied.· I asked

14· ·him, Do you want me to go get the officers and

15· ·just bring them up here?

16· · · · · · · ·And through the course of the

17· ·conversation, he said to me that I need to

18· ·control my emotions.· And I felt it was very

19· ·sexist and inappropriate and especially in

20· ·front of a subordinate.

21· · · · · Q· · And did you complain to him orally

22· ·at that time about the comment?

23· · · · · A· · Yes, I did.

24· · · · · Q· · And what did you say and what did

25· ·he say back?


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · I said exactly that, that it was

·3· ·sexist and inappropriate.

·4· · · · · Q· · And what was his response?

·5· · · · · A· · I don't remember.

·6· · · · · Q· · I am going to show you what was

·7· ·marked as Defendants' Exhibit O, which is Bates

·8· ·stamped 51 through 53, and ask you to take a

·9· ·look at that.

10· · · · · · · ·(Mr. Sweeney hands document

11· · · · · to witness.)

12· · · · · A· · It's a memo I sent to Lieutenant

13· ·Nawrocki on October 24th.· And once again, I

14· ·was laying out challenges that -- my concerns

15· ·about the officers and their professional

16· ·development and training.· And I was requesting

17· ·for -- to arrange a conference with him and

18· ·myself and possibly a third party to discuss --

19· ·to coordinate efforts so that we can

20· ·effectively supervise the squad.

21· · · · · Q· · Is the incident that you referred

22· ·to where he told you to control your emotions,

23· ·Lieutenant Nawrocki, is that referenced in that

24· ·exhibit?

25· · · · · A· · Okay.· Yes, this is the on the JC


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·52, the third paragraph, okay.· On this day

·3· ·following the roll call this -- I walked to the

·4· ·desk and Lieutenant Nawrocki was talking to

·5· ·Officer           .

·6· · · · · Q· · Is that                        ?

·7· · · · · A· ·                      .· I asked her -- I

·8· ·had asked her earlier to give me an MV-5

·9· ·regarding something that happened in roll call.

10· · · · · · · ·And when I attempted to order her

11· ·in front of him to give me an MV-5 regarding

12· ·her insubordination at roll call, I wrote to

13· ·him that you told her not to and to ignore my

14· ·order.

15· · · · · · · ·I also wrote that he found it

16· ·necessary to then tell me in front of another

17· ·subordinate, her, that I needed to control my

18· ·emotions.· So that was the incident.· Because

19· ·you are getting reports that I am tense and

20· ·yelling at officers.

21· · · · · Q· · So the other officer present was

22· ·                  ?

23· · · · · A· · It was                        , yeah, I was

24· ·mistaken.

25· · · · · Q· · Not the other officer that you
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·1· · · · · · · · · · · Carpenter

·2· ·referenced?

·3· · · · · A· · Yeah.

·4· · · · · Q· · And that was the same officer that

·5· ·you had written up before,                          ?

·6· · · · · A· · Yes.· Well -- well, this is 10/24.

·7· ·The incident that I referenced in her write-up

·8· ·was 10/23.· So this could have been just simply

·9· ·recounting, recapping.

10· · · · · Q· · Other than this submission or this

11· ·memo from you to Lieutenant Nawrocki, which is

12· ·Exhibit O dated October 24, 2013, did you make

13· ·any other complaints regarding the comment that

14· ·Lieutenant Nawrocki made to you about

15· ·controlling your emotions at that time?

16· · · · · A· · At that time, I don't recall.

17· · · · · Q· · There came a time where you

18· ·requested training, is that correct?

19· · · · · A· · Yes.

20· · · · · Q· · And in your complaint, as I

21· ·understand it, Paragraph 25, you indicate you

22· ·made a request on January 31, 2014 and then

23· ·another request on March 9, 2014, which is set

24· ·forth in Paragraph 32.

25· · · · · · · ·Are those the two training
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                                                                      52


·1· · · · · · · · · · · Carpenter

·2· ·requests that were denied that you refer to in

·3· ·your complaint?

·4· · · · · A· · I don't know.· I mean, it's so

·5· ·long ago.

·6· · · · · Q· · I am going to show you what's been

·7· ·marked as Defendants' Exhibit N, which is Bates

·8· ·stamped Page 50.

·9· · · · · · · ·(Mr. Sweeney hands document

10· · · · · to witness.)

11· · · · · A· · This is dated July of 2013.

12· · · · · Q· · Right.· Do you recognize that

13· ·document?

14· · · · · A· · Yes.

15· · · · · Q· · What is that document?

16· · · · · A· · This is a request for training

17· ·that I made to Captain Hastings.

18· · · · · Q· · Was that request for training in

19· ·July of 2013 approved?

20· · · · · A· · Not that I'm aware of, no.

21· · · · · Q· · Did you make any complaints about

22· ·not getting training approved with respect to

23· ·that request?

24· · · · · A· · I submitted several trainings, and

25· ·I didn't always complain about everything.              I


                                                                       YVer1f
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                                                                      53


·1· · · · · · · · · · · Carpenter

·2· ·just would wait for the response.· Sometimes I

·3· ·got a response, and sometimes I didn't.

·4· · · · · Q· · Was training approved at all for

·5· ·you in the 2013-2014 time frame?

·6· · · · · A· · I can't remember.

·7· · · · · Q· · Any approved training would be set

·8· ·forth in your personnel file, is that fair to

·9· ·say?

10· · · · · A· · I don't know what they put in the

11· ·personnel file or always that they put it in

12· ·there so -- but I know this -- I didn't attend

13· ·this, no.

14· · · · · Q· · I am going to show you what's

15· ·marked as Defendants' Exhibit U, which is Bates

16· ·stamped pages 90 through 92.

17· · · · · · · ·(Mr. Sweeney hands document

18· · · · · to witness.)

19· · · · · A· · Now, this is a training request in

20· ·2014, January 2014.

21· · · · · Q· · Is that the training request

22· ·that's referenced in your complaint allegation,

23· ·Paragraph Number 25?· It is, I believe you

24· ·allege you were denied training requested on or

25· ·about January 31, 2014?


                                                                       YVer1f
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                                                                      54


·1· · · · · · · · · · · Carpenter

·2· · · · · A· · This looks -- yes, this looks like

·3· ·it, yeah.

·4· · · · · Q· · What was the training that you

·5· ·were seeking to take?

·6· · · · · A· · Search warrants, search warrant

·7· ·training.

·8· · · · · Q· · Did you receive search warrant

·9· ·training at the police academy?

10· · · · · A· · No.

11· · · · · Q· · Did you receive search warrant

12· ·training after the police academy?

13· · · · · A· · Yes, I did.

14· · · · · Q· · When and where?

15· · · · · A· · When, as a detective.

16· · · · · Q· · Okay.

17· · · · · A· · I received search warrant

18· ·training.

19· · · · · Q· · And you were a detective during

20· ·what time frame?

21· · · · · A· · Well, I was from -- I was assigned

22· ·to Detective Division from 19 -- December of

23· ·1998 until December of 2011.

24· · · · · Q· · So sometime during that time

25· ·period --


                                                                       YVer1f
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                                                                      55


·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Right.

·3· · · · · Q· · -- you received search warrant

·4· ·training?

·5· · · · · A· · Yes.

·6· · · · · Q· · Are you alleging that your failure

·7· ·to get this training impacted your career in

·8· ·any way?

·9· · · · · A· · Yes.

10· · · · · Q· · How so?

11· · · · · A· · Because as a supervisor and a

12· ·patrol and other officers, many times we are

13· ·asked to assist detective divisions, as well as

14· ·other agencies that come into the city with

15· ·search warrants.

16· · · · · · · ·And as the supervisor responsible

17· ·for making sure that the officers act

18· ·appropriately, it is -- it did impact my

19· ·ability to be able to know, you know, different

20· ·laws, whether laws changed and make sure that I

21· ·supervised them properly.

22· · · · · Q· · Were you able to discharge your

23· ·duties as a detective with the search warrant

24· ·training that you received there?

25· · · · · A· · I'm sorry?


                                                                       YVer1f
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                                                                      56


·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Were you able to discharge your

·3· ·duties as a detective with the search warrant

·4· ·training that you received as a detective?

·5· · · · · A· · Yes.

·6· · · · · Q· · Were you ever written up,

·7· ·counseled or disciplined for a search warrant

·8· ·violation?

·9· · · · · A· · Not that I remember, but laws

10· ·changed.

11· · · · · Q· · I am going to show you what's

12· ·marked as QQ and it is Page 252.

13· · · · · · · ·(Mr. Sweeney hands document

14· · · · · to witness.)

15· · · · · A· · I remember submitting this.

16· · · · · Q· · What is that document?

17· · · · · A· · This is a request for training.

18· · · · · Q· · What type of training did you

19· ·request?

20· · · · · A· · A 99 signs of danger is one of the

21· ·trainings, social media gang investigations,

22· ·cell phone investigations.

23· · · · · Q· · Is it fair to say that's offered

24· ·as a refresher class?

25· · · · · A· · As a refresher?


                                                                       YVer1f
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                                                                      57


·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Yes.

·3· · · · · A· · All training that you get is a

·4· ·refresher, can serve as a refresher.

·5· · · · · Q· · It is not required for promotion,

·6· ·that training?

·7· · · · · A· · No, we take a promotional exam for

·8· ·promotion, and these questions are not on the

·9· ·exam.· However, to allow you to effectively

10· ·supervise officers in this day and age, we have

11· ·a diverse type of skills that we have to -- a

12· ·diverse type of incidents that we respond to,

13· ·so, you know, this type of training would have

14· ·helped.

15· · · · · Q· · Going back to Defendants' Exhibit

16· ·U, which is the search warrant training, was

17· ·that training required for promotion?

18· · · · · · · ·(Mr. Sweeney hands document

19· · · · · to witness.)

20· · · · · A· · No.

21· · · · · Q· · I am going to show you what's

22· ·marked as Defendants' Exhibit P and Q.· P is

23· ·Page 54 and 55, Bates stamped, and Q is 56 and

24· ·57.· And both appear to be two-page documents

25· ·addressed to Greg Addison.


                                                                       YVer1f
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                                                                      58


·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·(Mr. Sweeney hands document

·3· · · · · to witness.)

·4· · · · · A· · Right.

·5· · · · · Q· · Are those documents the same,

·6· ·Sergeant Carpenter?

·7· · · · · A· · No, they're not.

·8· · · · · Q· · Were they written at the same

·9· ·time?

10· · · · · A· · I don't recall.

11· · · · · Q· · Why were they written?

12· · · · · A· · I was asking detective -- I mean,

13· ·PBA President Greg Addison to assist me with

14· ·setting up a meeting with Lieutenant Nawrocki.

15· · · · · Q· · Were either of those documents

16· ·ever sent to Greg Addison?

17· · · · · A· · Yes.

18· · · · · Q· · Which one was sent or both?

19· · · · · A· · I sent him so many documents, it

20· ·could have been both.

21· · · · · Q· · I am going to show you what is

22· ·marked as Defendants' Exhibit R and S.· R is

23· ·Bates stamped 58 through 60.· S is Bates

24· ·stamped 61 through 63.· They both appear to be

25· ·three-page documents from you to Commissioner


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·Raynor.

·3· · · · · · · ·(Mr. Sweeney hands document

·4· · · · · to witness.)

·5· · · · · A· · Okay.

·6· · · · · Q· · What is R?

·7· · · · · A· · R is dated December 6, 2013.

·8· · · · · Q· · What is Exhibit R?

·9· · · · · A· · It was notifying him of a

10· ·supervisor report that I made that I submitted

11· ·involving Probationary Police Officer

12· ·           regarding an incident that occurred on

13· ·November 23, 2013.

14· · · · · Q· · That's the incident that you

15· ·described in another document?

16· · · · · A· · Yes.

17· · · · · Q· · You wrote up for sleeping on post?

18· · · · · A· · Right.

19· · · · · Q· · Okay.· And then Exhibit S is what?

20· · · · · A· · Is dated December 9, 2013.

21· · · · · Q· · And what was the purpose of that

22· ·letter?

23· · · · · A· · This 2012 -- I mean, I mean,

24· ·December 9th is much more detailed.· It appears

25· ·to be just --
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Were either one of those sent to

·3· ·Commissioner Bell or both?

·4· · · · · A· · I -- I usually send them through

·5· ·e-mail so that's easily -- and this was

·6· ·actually to Commissioner Raynor, not Bell.

·7· · · · · Q· · Right, so same question.· Do you

·8· ·recall Commissioner Raynor getting those

·9· ·documents?

10· · · · · A· · Yes.

11· · · · · Q· · And you would have sent those by

12· ·e-mail?

13· · · · · A· · Yes.

14· · · · · Q· · And you would have used what

15· ·e-mail account?

16· · · · · A· · The police department.

17· · · · · Q· · As opposed to a personal account?

18· · · · · A· · Yeah.

19· · · · · Q· · And those don't appear to be

20· ·signed.· You don't sign your letters?

21· · · · · A· · No, I just e-mail, and the e-mail

22· ·address usually indicates the -- has the

23· ·information on it.

24· · · · · Q· · And what was the purpose of

25· ·writing those letters to the police


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·commissioner?

·3· · · · · A· · Because I had been trying to

·4· ·discipline, train.· And at this time, this is

·5· ·when I wanted to inform him of -- that

·6· ·Lieutenant Hunce, his actions was preventing me

·7· ·from doing my job and that's why.

·8· · · · · Q· · Was Lieutenant Hunce in your chain

·9· ·of command?

10· · · · · A· · No, he came to me.

11· · · · · Q· · All right.

12· · · · · A· · He -- he came, he approached me

13· ·and asked me not to discipline Officer

14· ·          .

15· · · · · Q· · And did you bring that request to

16· ·Lieutenant Nawrocki's attention?

17· · · · · A· · At that time it was Lieutenant

18· ·Curzio.· He went to Lieutenant Curzio, asked

19· ·Lieutenant Curzio to have me not to write up.

20· ·And Lieutenant Curzio spoke to me, and I

21· ·said -- explained to him.

22· · · · · · · ·Lieutenant Curzio at the time

23· ·understood why that would not be appropriate,

24· ·not to discipline her.· So he conveyed that

25· ·back to Lieutenant Hunce.· Lieutenant Hunce
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·1· · · · · · · · · · · Carpenter

·2· ·came in off duty to speak to me to confront me

·3· ·about writing her up.

·4· · · · · Q· · And who is the superior, if there

·5· ·was any, between Lieutenant Curzio and the

·6· ·police commissioner?· Was there a captain or a

·7· ·chief officer?

·8· · · · · A· · In -- at that time it would have

·9· ·been the captain in the patrol division,

10· ·captain.

11· · · · · Q· · And who was that at that time?

12· · · · · A· · At that time, I believe it was

13· ·Hastings.

14· · · · · Q· · Captain Hastings?

15· · · · · A· · Yes.

16· · · · · Q· · Did you bring that issue involving

17· ·Lieutenant Hunce's intercession on behalf of

18· ·another officer to Captain Hastings?

19· · · · · A· · No, I didn't.

20· · · · · Q· · Why not?

21· · · · · A· · Because I didn't feel comfortable.

22· · · · · Q· · Why not?

23· · · · · A· · Because of the repeated issues

24· ·that I was having, I just felt that I was -- go

25· ·straight to the commissioner and that he would


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·be the best person for me to speak to at the

·3· ·time.

·4· · · · · Q· · Is it fair to say based on your

·5· ·response that you didn't give Captain Hastings

·6· ·a chance to intervene in this matter?

·7· · · · · A· · Based on my response, I went to

·8· ·Commissioner Raynor.

·9· · · · · Q· · There came a time, or at least in

10· ·your complaint in Paragraph 26, where you

11· ·allege that Chief Dumser would not allow you to

12· ·be present at police department headquarters

13· ·when you were working?

14· · · · · A· · Right.

15· · · · · Q· · Can you tell me about that

16· ·allegation?

17· · · · · A· · Yes.· Routinely, I would be

18· ·sitting down doing research to -- for the

19· ·training, checking my e-mails, and he would

20· ·come in.· And next thing I know, Lieutenant

21· ·Curzio, who was the commanding officer at the

22· ·time, would tell me Dumser doesn't want you in

23· ·the building.

24· · · · · Q· · Where did Chief Dumser want you to

25· ·be at?


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · He wanted me out of the building.

·3· · · · · Q· · And at that time, you were

·4· ·assigned to patrol?

·5· · · · · A· · Yes, I was.

·6· · · · · Q· · And how would a patrol sergeant

·7· ·patrol or manage her staff at that time?· Can

·8· ·you walk me through a typical day as a patrol

·9· ·sergeant?

10· · · · · A· · A typical day is you have a number

11· ·of responsibilities, including training and

12· ·development.· So supervision is just not the

13· ·only responsibility.· It also includes making

14· ·sure that they are properly trained and that

15· ·they are developed to do the jobs that they are

16· ·expected to do.

17· · · · · Q· · And how would you do that?

18· · · · · A· · And I would do that by first of

19· ·all checking my e-mails, finding out what

20· ·happened the night, before making sure that

21· ·they -- we understood what we were -- what may

22· ·have happened the day before or out on our days

23· ·off that may impact our patrol objectives when

24· ·we go out today.

25· · · · · · · ·So I would do that at the top of


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·the morning.· I would check for different read

·3· ·reports and check for things that we may need

·4· ·to go over in roll call.· These are all part of

·5· ·their development.· This is all part of my

·6· ·supervisory duties and responsibilities.

·7· · · · · Q· · Did you receive a direction from

·8· ·either Lieutenant Curzio or Chief Dumser that

·9· ·you were not allowed to check your e-mails?

10· · · · · A· · No, I told Curzio I was checking

11· ·my e-mails.· I told him I was working.

12· · · · · Q· · And what did he --

13· · · · · A· · And he said Dumser just doesn't

14· ·want you here.

15· · · · · Q· · What would you do when Lieutenant

16· ·Curzio would say that?

17· · · · · A· · I would leave.

18· · · · · Q· · Were you unable to check your

19· ·e-mails during the day?

20· · · · · A· · Yes, I was.

21· · · · · Q· · For how long?

22· · · · · A· · As long as when I walked through

23· ·the door, Dumser would appear or Curzio would

24· ·follow me about and tell me, You know, you

25· ·can't be here, you know, here he comes.· And


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·he's whispering in my ear constantly telling me

·3· ·to get out of the building.

·4· · · · · Q· · What shift, what tour did you work

·5· ·during this time frame?· This would be February

·6· ·of 2014.

·7· · · · · A· · I don't know.· There must have

·8· ·been -- February of 2014?· February of 2014, we

·9· ·rotated.

10· · · · · Q· · What does that mean, you rotated?

11· · · · · A· · We worked evenings, nights and

12· ·days, day tours.

13· · · · · Q· · And did Chief Dumser work a

14· ·particular tour?

15· · · · · A· · He typically worked days.

16· · · · · Q· · So he didn't work any other tours?

17· · · · · A· · He could have, but for the most

18· ·part he would work days.

19· · · · · Q· · And you rotated so you worked some

20· ·days, some nights, is that correct?

21· · · · · A· · Right.

22· · · · · Q· · So on the nights that Chief Dumser

23· ·was not present, were you able to check your

24· ·e-mails?

25· · · · · A· · Yes.


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · If you rotated your tours, how

·3· ·often would you be on days versus nights in a

·4· ·week?

·5· · · · · A· · In a week?

·6· · · · · Q· · Yes.

·7· · · · · A· · Every set of tours we changed, so

·8· ·one every four days, two days off.· We go from

·9· ·one tour to the next.

10· · · · · Q· · So if I understand your response,

11· ·you might work four days in a row doing days?

12· · · · · A· · Right.

13· · · · · Q· · Have two days off and then work

14· ·nights?

15· · · · · A· · Evenings.

16· · · · · Q· · And then there is three shifts, is

17· ·there not?

18· · · · · A· · Right.

19· · · · · Q· · What is the day shift, what hours

20· ·is the day shift?

21· · · · · A· · Seven to 3.

22· · · · · Q· · And that's the shift that Chief

23· ·Dumser normally would be at?

24· · · · · A· · Right.

25· · · · · Q· · And the next shift is what?


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Three to 11.

·3· · · · · Q· · And then the following tour?

·4· · · · · A· · Would be 11 p.m. to 7 a.m.

·5· · · · · Q· · And during your rotation, you

·6· ·would have worked all three tours, correct?

·7· · · · · A· · Yes.

·8· · · · · Q· · So your day tours during this

·9· ·rotating shift cycle would be one-third of the

10· ·days that you worked?

11· · · · · A· · Yes.

12· · · · · Q· · And that would be the time where

13· ·you may have had problems with Chief Dumser

14· ·having you in the building?

15· · · · · A· · Right.

16· · · · · Q· · Do you know if Chief Dumser did

17· ·that to any other sergeants that worked the day

18· ·tour?

19· · · · · A· · I just know that other sergeants

20· ·were not -- were -- were observed sitting

21· ·around chatting without the harassment of Chief

22· ·Dumser pursuing them to go outside.

23· · · · · Q· · What's the basis of your knowledge

24· ·for that?

25· · · · · A· · Just -- just to be able to observe


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·it if I came in on my days off or there were

·3· ·other people, witnesses that can attest to

·4· ·that.

·5· · · · · Q· · What witnesses?

·6· · · · · A· · Well, Ms. Ferguson, she was a

·7· ·clerk.· She worked in the complaint room.· And

·8· ·she could attest to that very easily.· As a

·9· ·matter of fact, she commented to Curzio about

10· ·it, about the disparate treatment that I was

11· ·being -- that was being imposed on me versus

12· ·other supervisors.

13· · · · · Q· · How did you know that Ms. Ferguson

14· ·told something to Lieutenant Curzio?

15· · · · · A· · Because that's -- she told me.

16· · · · · Q· · So Ms. Ferguson told you that she

17· ·told Lieutenant Curzio that?

18· · · · · A· · Right.

19· · · · · Q· · Did you mention or did you testify

20· ·that you observed other sergeants?

21· · · · · A· · Yes.

22· · · · · · · ·MR. SWEENEY:· Wait until the

23· · · · · question is finished.

24· · · · · Q· · On how many occasions did you

25· ·witness that?


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Numerous occasions.· I can't say

·3· ·specifically.

·4· · · · · Q· · And did this treatment by Chief

·5· ·Dumser continue for some time?

·6· · · · · A· · Yes, it did.

·7· · · · · Q· · How long did it continue?

·8· · · · · A· · It continued till -- up until I

·9· ·was injured.

10· · · · · Q· · And when was that?

11· · · · · A· · That was in April of 2014.

12· · · · · Q· · So approximately two months,

13· ·February to April 2014?

14· · · · · A· · It -- about -- I would say before

15· ·then, before February, about that time.

16· · · · · Q· · Paragraph 26 of your complaint

17· ·says on February 4, 2014, Lieutenant Curzio

18· ·informed Jennifer, meaning you, that Chief

19· ·Dumser did not want her physically present at

20· ·MVPD headquarters.· Jennifer, the only female

21· ·sergeant and the only person who opposed

22· ·discriminatory practices, was the only employee

23· ·that Dumser requested not to be physically

24· ·present at headquarters.

25· · · · · · · ·So your complaint says it began on


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·February 4, 2014.

·3· · · · · A· · It doesn't say it began on

·4· ·February 4th.

·5· · · · · Q· · What other times did Lieutenant

·6· ·Curzio tell you that Chief Dumser did not want

·7· ·you physically present at headquarters?

·8· · · · · A· · This went on for some time.· But

·9· ·that's -- that's the day, if I'm not mistaken,

10· ·that I was ill.

11· · · · · Q· · I don't understand.· You were ill?

12· · · · · A· · May I see it?· What you're

13· ·reading.

14· · · · · Q· · Sure.· I am reading from the

15· ·complaint.

16· · · · · · · ·MR. SMITH:· (Indicating).

17· · · · · A· · Exactly.· This was ongoing.· But

18· ·on February 4th is when we actually -- I

19· ·explained to him that I wasn't going to stand

20· ·it.· But this had been --

21· · · · · Q· · When did it begin?

22· · · · · A· · It began in January, I believe.

23· · · · · Q· · All right.· Let me break it down.

24· · · · · · · ·What began in January of 2014?

25· · · · · A· · His harassment of me and saying he


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·didn't want me in the building.

·3· · · · · Q· · When you say he, is that Chief

·4· ·Dumser?

·5· · · · · A· · Chief Dumser.

·6· · · · · Q· · Do you know what time frame in

·7· ·January of 2014?

·8· · · · · A· · It was after I had the

·9· ·conversation with Mayor Davis.

10· · · · · Q· · When you complained in Paragraph

11· ·24, you indicate that that conversation

12· ·happened on January 17, 2014, is that correct?

13· · · · · A· · Okay.

14· · · · · Q· · So is it your testimony that Chief

15· ·Dumser's treatment of you regarding wanting you

16· ·out of the building began after that?

17· · · · · A· · Yes.

18· · · · · Q· · Did you make any complaints to

19· ·anyone before February 4th of 2014 about that

20· ·treatment?

21· · · · · A· · It was -- who am I complaining to?

22· ·Curzio was actually uncomfortable with it, and

23· ·so when he would -- he would alert me that,

24· ·Here comes Dumser.· You know he doesn't want

25· ·you here.


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·And then it just escalated to the

·3· ·point that on February 4th is when I just

·4· ·verbally stated that this is a double standard,

·5· ·and I wanted to go a little bit more -- my

·6· ·frustration became escalated as a result of the

·7· ·harassment.

·8· · · · · Q· · Were there any witnesses to the

·9· ·conversations with you and Lieutenant Curzio?

10· · · · · A· · It could have been.· I don't know.

11· · · · · Q· · Are there any witnesses to Chief

12· ·Dumser's treatment of you regarding wanting you

13· ·out of the building?

14· · · · · A· · Well, Lieutenant Curzio.

15· · · · · Q· · Anyone else besides Lieutenant

16· ·Curzio?

17· · · · · A· · It was -- you know, it could have

18· ·been.

19· · · · · Q· · What could have been?

20· · · · · A· · It could have been other people

21· ·there.· It was -- you know, it's not unusual

22· ·for people to witness something.· No one wants

23· ·to get involved after they realize, especially

24· ·when somebody's being targeted for harassment.

25· · · · · Q· · Can you tell me about the


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·allegation in Paragraph 24 of the complaint

·3· ·where you visit the mayor on January 17, 2014?

·4· · · · · A· · I -- like I said, routinely the

·5· ·mayor would have an open-door policy.· He's had

·6· ·it for years.· But on this particular day, I

·7· ·had gone to see Judith Williams, who was his

·8· ·human resources commissioner.

·9· · · · · · · ·And while I waited for her, she

10· ·was on the phone, and I looked out the window

11· ·and noticed that the mayor's vehicle was parked

12· ·outside.· And I felt that since this was like

13· ·after hours, and my hope was that I could have

14· ·this matter addressed internally and that we

15· ·could move forward with, you know, getting work

16· ·done.

17· · · · · · · ·And so I said to her, What do you

18· ·think if I go speak to him?· So she said, Well,

19· ·you know, he's there.· Go and take a chance.

20· ·And so I did.· I went downstairs.· He agreed to

21· ·see me.· And that's -- that's when I spoke to

22· ·him.

23· · · · · Q· · And what did you say and what did

24· ·he say back?

25· · · · · A· · Explained to him that there was a


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·lot of different issues going on in the police

·3· ·department, a lot of them had to do with

·4· ·discrimination.

·5· · · · · Q· · When you say discrimination, were

·6· ·you specific as to what type of discrimination?

·7· · · · · A· · Absolutely.· I explained to him

·8· ·how I was being targeted, how other officers,

·9· ·minority officers were not being trained and

10· ·developed appropriately, specifically a lot of

11· ·the women.· My complaints are being ignored,

12· ·that there are other male African-American

13· ·officers who are being targeted.

14· · · · · · · ·And I, you know -- he's always

15· ·made statements in terms of, you know,

16· ·developing the police department.· And I

17· ·explained to him that there's no leaders being

18· ·developed, that the women are being encouraged

19· ·to -- you know, not to live up to their full

20· ·potential and that they're not taken seriously.

21· · · · · · · ·And I said to him, I already

22· ·was -- I did tell him that I was coming from

23· ·upstairs.· And he said to me, You don't want to

24· ·do that.· So I said -- and then he just

25· ·switches the conversation into -- he starts


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·talking about there's so much fucking going on

·3· ·around here.· Are you fucking Raynor?· And I

·4· ·was shocked.· I was shocked, and I was scared.

·5· ·Because at that point I realized that I made a

·6· ·big mistake and that this is not going the way

·7· ·I expected.

·8· · · · · · · ·And I even texted Ms. Williams.

·9· ·She said, How is everything going?· I said, Not

10· ·well.· And that -- and that's pretty much how

11· ·it deteriorated.

12· · · · · Q· · So if I understand your response,

13· ·you were over at City Hall to see Judy Williams

14· ·about your concerns regarding lack of

15· ·professional development at the police

16· ·department?

17· · · · · A· · The discrimination.

18· · · · · Q· · And discrimination?

19· · · · · A· · Harassment, retaliation.

20· · · · · Q· · Right.· You mentioned it involved

21· ·several officers.· Did you tell Judy Williams

22· ·at that time which officers were the victims?

23· · · · · A· · Yes.

24· · · · · Q· · And what officers did you tell

25· ·her?


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · I told her Officer Jean-Jerome, I

·3· ·told her Officer Patterson.· I explained to her

·4· ·about the women, that, you know, they're not

·5· ·being trained, and they're not allowing me to

·6· ·train them.

·7· · · · · Q· · What women did you say were not

·8· ·being trained?

·9· · · · · A· ·              ,         .

10· · · · · Q· · The two officers that you wrote up

11· ·for discipline?

12· · · · · A· · Right.· Training -- discipline is

13· ·part of training or vice versa.· And what else

14· ·did you want to know?

15· · · · · Q· · I was just asking what female

16· ·officers you mentioned were not receiving

17· ·training.

18· · · · · A· · I just explained in general that

19· ·the females were not being developed properly,

20· ·and that they were not held to the same

21· ·standard as the men.

22· · · · · Q· · In what respect were they not held

23· ·to the same standard?

24· · · · · A· · Because something as simple as,

25· ·you know, understanding that you don't, you
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·1· · · · · · · · · · · Carpenter

·2· ·know -- you have to be held accountable, you

·3· ·can't go and have a suicide watch and be

·4· ·sleeping.

·5· · · · · Q· · Did you record the conversation

·6· ·with the mayor?

·7· · · · · A· · Did I record it?

·8· · · · · Q· · Yes.

·9· · · · · A· · No.

10· · · · · Q· · Have you recorded conversations

11· ·with other city employees?

12· · · · · A· · I have -- have I recorded -- no.

13· · · · · Q· · So just to be clear, with respect

14· ·to the allegations made in the complaint, you

15· ·have not recorded a witness to any of the

16· ·allegations?

17· · · · · A· · I have not.· I don't believe I

18· ·have.

19· · · · · Q· · Is there anything you can check to

20· ·verify whether or not you recorded a witness in

21· ·this matter?

22· · · · · A· · Yes, I could check.

23· · · · · Q· · What would you be checking?

24· · · · · A· · Well, actually, I'd have a

25· ·different -- I have a different phone, so I


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·can't really -- I don't remember recording

·3· ·anybody.

·4· · · · · Q· · Outside of this lawsuit, have you

·5· ·recorded anyone at work, any of your

·6· ·co-employees on your phone or otherwise?

·7· · · · · A· · Outside of this lawsuit?

·8· · · · · Q· · Yes.

·9· · · · · A· · I tried to.

10· · · · · Q· · What types of conversations would

11· ·you try to record?

12· · · · · A· · It wasn't conversations, it was

13· ·just in general.· I used to -- I felt

14· ·uncomfortable that I was being

15· ·mischaracterized, and so I bought a body camera

16· ·but it didn't work.

17· · · · · Q· · When did you try to bring a body

18· ·camera that didn't work?

19· · · · · A· · This was during -- in 2014.

20· · · · · Q· · What incident or what person or

21· ·what were you trying to record?

22· · · · · A· · Well, when I filed the -- the

23· ·supervisor report against Officer                      and

24· ·she made several allegations that I harassed

25· ·her, and I knew I didn't, and so I felt very
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·1· · · · · · · · · · · Carpenter

·2· ·uncomfortable that my actions were -- that I

·3· ·needed to protect myself.

·4· · · · · Q· · Other than the Officer

·5· ·situation, did you attempt to record anyone

·6· ·else at work?

·7· · · · · A· · I don't -- I -- I would wear it

·8· ·frequently, but mostly it was not on.

·9· · · · · Q· · When you say you would wear it,

10· ·you would wear it --

11· · · · · A· · Yeah.

12· · · · · Q· · -- on your uniform?

13· · · · · A· · Anybody could see it.· It was

14· ·mostly to protect me.

15· · · · · Q· · I am going to hand you what's

16· ·marked as Defendants' Exhibit T, which is Bates

17· ·stamped 64 through 85.

18· · · · · · · ·(Mr. Sweeney hands document

19· · · · · to witness.)

20· · · · · A· · Okay.

21· · · · · Q· · What is that document?

22· · · · · A· · These are text messages between

23· ·myself and Judy Williams.

24· · · · · Q· · Is there anything significant on

25· ·those text messages that's relevant to your
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·1· · · · · · · · · · · Carpenter

·2· ·lawsuit?

·3· · · · · A· · Well, here at --

·4· · · · · Q· · Indicating the first page?

·5· · · · · A· · Indicating the first page, she

·6· ·confirms my conversation with her where she

·7· ·says that, I find it troubling that you felt

·8· ·worse after meeting with him.· She says, I've

·9· ·got to speak to him.

10· · · · · Q· · The him is referring to Mayor

11· ·Davis?

12· · · · · A· · Right.· She was requesting that I

13· ·come to her office.· I wasn't feeling well.              I

14· ·had right -- I had just become physically

15· ·unable to come to the office.· My back, my

16· ·legs, I was just really, really physically

17· ·drained, impacted by all the stress.

18· · · · · Q· · Is there anything else that is

19· ·significant in those text messages that's

20· ·relevant to your lawsuit?

21· · · · · A· · Well, it looks like something's

22· ·missing, because on Page 2, I remember I'm

23· ·having trouble with my Internet.· Because she

24· ·kept hounding me to write out what happened,

25· ·write out the charge.· And I was texting her


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·back and forth, letting her know I'm trying,

·3· ·I'm working on it, but I just wasn't feeling

·4· ·good at the same time so --

·5· · · · · Q· · So you think there are more text

·6· ·messages that are not present there?

·7· · · · · A· · Just doesn't -- I'm having trouble

·8· ·with my Internet, I will get this to you soon.

·9· ·My legs and back have been aching, I wasn't

10· ·feeling good.· I came down with shingles, strep

11· ·throat.· She replies, That's stress.

12· · · · · · · ·Okay.· She wanted me to please

13· ·write up the charge.· It can be brief.· 'Cause

14· ·I told him the persons doing the investigation

15· ·are being implicated.· She says, Okay.· I said,

16· ·How soon do you need this?

17· · · · · · · ·My doctor called apparently after

18· ·consulting with another doctor.· She thinks due

19· ·to the high -- how high my blood pressure is, I

20· ·needed to get to the E.R. to get a CT scan.

21· · · · · · · ·I'm literally on prayers until the

22· ·snow stops, snowstorm.· I've been trying my

23· ·best just to stay calm and not to think about

24· ·things.

25· · · · · Q· · Those texts are done over


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·1· · · · · · · · · · · Carpenter

·2· ·different days, right?· They are not all on

·3· ·January 17th?

·4· · · · · A· · No, these are all following

·5· ·January 17th.

·6· · · · · Q· · And as I understand it, those text

·7· ·messages continue to June of 2014, the text

·8· ·messages that you are looking at?

·9· · · · · A· · Yes.

10· · · · · Q· · So you felt comfortable enough to

11· ·be able to text Judy Williams?

12· · · · · A· · That's all I could do.· I was so

13· ·sick.

14· · · · · Q· · Well, between January and June of

15· ·2014, were you sick the entire time?

16· · · · · A· · Well, that indicates exactly when

17· ·I was sick.· I mean, the best I could do was,

18· ·you know, she was -- she's a human resource

19· ·commissioner.· She insisted that I write what I

20· ·could and get it to her so she could conduct a

21· ·confidential investigation.· And I was trying

22· ·my best to get to her what I could under the

23· ·circumstances.

24· · · · · Q· · But if you needed to communicate

25· ·with Judy Williams, you felt comfortable


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·1· · · · · · · · · · · Carpenter

·2· ·texting her?

·3· · · · · A· · Yeah.

·4· · · · · Q· · I am going to show you what's

·5· ·marked as Defendants' Exhibit V, as in Victor,

·6· ·which is pages 95 through 105.

·7· · · · · · · ·(Mr. Sweeney hands document

·8· · · · · to witness.)

·9· · · · · Q· · And Defendants' Exhibit KK, which

10· ·is 184 through 187.

11· · · · · · · ·(Mr. Sweeney hands document

12· · · · · to witness.)

13· · · · · A· · Oh.

14· · · · · Q· · Do you recognize --

15· · · · · A· · Both of these are in response to

16· ·her request that I write down what I was going

17· ·through.· And one of them is dated February --

18· ·let's see, what is this, a V (indicating)?

19· · · · · Q· · V as in Victor.

20· · · · · A· · V is dated February 7, 2014.· And

21· ·so it's just as best as I could give her a

22· ·chronological account of my experiences with

23· ·regard to discrimination and hostile work

24· ·environment.

25· · · · · Q· · Did you hand deliver Exhibit V or


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·did you e-mail that?

·3· · · · · A· · I believe I e-mailed this.             I

·4· ·didn't give this.· Yeah, I would have -- I

·5· ·believe I would have e-mailed this to her.

·6· · · · · Q· · So you have a recollection with

·7· ·respect to Defendants' Exhibit V, as in Victor,

·8· ·and Defendants' Exhibit KK, kilo kilo, that you

·9· ·e-mailed both of those to her?

10· · · · · A· · I believe so.

11· · · · · Q· · Did you provide a copy of those

12· ·submissions to anyone else at Mount Vernon

13· ·other than Judy Williams?

14· · · · · A· · I don't believe so.

15· · · · · Q· · Did you make anyone in that police

16· ·department aware that you provided those

17· ·submissions to Judy Williams?

18· · · · · A· · I may have told the PBA but I'm

19· ·not -- I don't -- I don't recall.

20· · · · · Q· · Who at the PBA would you have

21· ·told?

22· · · · · A· · I would have told Officer

23· ·Jean-Jerome or -- I don't know at this time,

24· ·February, I believe Addison was the president

25· ·of the PBA at the time.


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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Other than PBA colleagues --

·3· · · · · A· · Right.

·4· · · · · Q· · -- you didn't provide a copy of

·5· ·that to anyone in your chain of command, is

·6· ·that fair to say?

·7· · · · · A· · No, this was for her.· She asked

·8· ·for this.

·9· · · · · Q· · I will take those back.

10· · · · · · · ·(Witness hands document

11· · · · · to Mr. Sweeney.)

12· · · · · Q· · One of the allegations in your

13· ·complaint at Paragraph 31 is that you were not

14· ·allowed to conduct roll call between March 1st

15· ·of 2014 and April 5th of 2014, is that right?

16· · · · · A· · Right.

17· · · · · Q· · Could you describe that allegation

18· ·of your complaint?

19· · · · · A· · Well, I believe that's -- when I

20· ·returned back from being ill, that's when

21· ·Lieutenant Godshall was in -- had been

22· ·reassigned to our squad, and I was no longer

23· ·allowed to do roll calls.

24· · · · · Q· · What did Lieutenant Godshall's

25· ·transfer to your squad have to do with you not


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·1· · · · · · · · · · · Carpenter

·2· ·getting roll calls?

·3· · · · · A· · I don't know exactly, other than

·4· ·the fact that I was not allowed to do roll

·5· ·calls.

·6· · · · · Q· · Who did the roll calls?

·7· · · · · A· · He did.

·8· · · · · Q· · And in response to an earlier

·9· ·question, you said it is the lieutenant's

10· ·prerogative as to who does the roll call, is

11· ·that right?

12· · · · · A· · Yeah, it's -- the lieutenant is

13· ·the commanding officer, so that would have been

14· ·Lieutenant Curzio.

15· · · · · Q· · And what was Lieutenant Godshall's

16· ·position within that unit?

17· · · · · A· · He's another lieutenant.

18· · · · · Q· · So you had two lieutenants --

19· · · · · A· · Yeah.

20· · · · · Q· · -- on the same tour?

21· · · · · · · ·Did you complain that you were not

22· ·allowed to do the roll call to anyone?

23· · · · · A· · I did.

24· · · · · Q· · Who did you complain to?

25· · · · · A· · Lieutenant Curzio.


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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Did you do it orally or in

·3· ·writing?

·4· · · · · A· · I did it in writing.

·5· · · · · Q· · Do you recall when you would have

·6· ·done that in writing?

·7· · · · · A· · I did it around March.

·8· · · · · Q· · And how would you have done that,

·9· ·in an e-mail or a letter, a memo?

10· · · · · A· · In an e-mail.

11· · · · · Q· · Do you recall what you said?

12· · · · · A· · I don't remember specifically, but

13· ·I do know that I sent him an e-mail.

14· · · · · Q· · I am going to show you what's

15· ·marked as Defendants' Exhibit W, whiskey, which

16· ·is Bates stamped 109.

17· · · · · · · ·(Mr. Sweeney hands document

18· · · · · to witness.)

19· · · · · A· · Yeah.

20· · · · · Q· · Do you recognize Defendants'

21· ·Exhibit W?

22· · · · · A· · Yes.

23· · · · · Q· · What is it?

24· · · · · A· · This is an e-mail I sent to

25· ·Lieutenant Curzio.


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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Is it an e-mail or is that a

·3· ·letter that you signed?

·4· · · · · A· · This is -- this is a letter.· It

·5· ·looks like a letter I signed.

·6· · · · · Q· · So it is not an e-mail?

·7· · · · · A· · This looks like this is a letter I

·8· ·signed.

·9· · · · · Q· · What was the purpose of writing

10· ·that letter?

11· · · · · A· · I wanted to have a conversation

12· ·with him.· I was requesting a conversation

13· ·where we could discuss the changes that he made

14· ·and how we moved forward with developing

15· ·whatever his suggestion with developing the

16· ·officers.

17· · · · · Q· · Did you make a complaint in that

18· ·exhibit about not being permitted to do roll

19· ·call?

20· · · · · A· · Yes.

21· · · · · Q· · Where did you make that complaint?

22· · · · · A· · These actions include minimizing

23· ·my supervisory responsibilities with regard to

24· ·conducting roll calls, as well as suggestions I

25· ·made regarding sector assignments.


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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · So the reference to roll calls

·3· ·is --

·4· · · · · A· · It's -- this is like a follow-up

·5· ·to the conversation we had regarding the roll

·6· ·calls, me not doing roll calls.

·7· · · · · Q· · Is there anything else other than

·8· ·that document which memorializes your objection

·9· ·to not being allowed to do roll call?

10· · · · · A· · Not that I recall.

11· · · · · Q· · Did your inability to do roll

12· ·calls, was that for a certain amount of time,

13· ·March 1st through April 5, 2014, or did it

14· ·continue past that?

15· · · · · A· · I'm not sure.· I got injured the

16· ·14th, April 14th.

17· · · · · Q· · Longest it would have been is from

18· ·March 1st to April 14th?

19· · · · · A· · Fourteen.

20· · · · · Q· · 2014?

21· · · · · A· · Right.

22· · · · · Q· · Did that inability to do roll call

23· ·affect your career at all?

24· · · · · A· · Absolutely.

25· · · · · Q· · How so?


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Because when you -- conducting

·3· ·roll calls is an opportunity for training and

·4· ·to be able to communicate directly with the

·5· ·officers and help their development.· And so

·6· ·they get to see, to understand my expectations

·7· ·when they're out on the street.· I'm

·8· ·supervising them and -- and I get to discuss

·9· ·whatever I see on the street to help them.

10· · · · · Q· · If you weren't doing roll call,

11· ·were you required to remain silent during the

12· ·briefing?

13· · · · · A· · I wasn't required to.· No one

14· ·said, No, you have to remain silent.· But

15· ·whoever does the roll call also does the roll

16· ·call training.· Because I was consistently

17· ·assigned as the street supervisor.· That

18· ·precluded me from the opportunity to train and

19· ·develop the officers.

20· · · · · Q· · To train and develop the officers?

21· · · · · A· · Right.

22· · · · · Q· · Not yourself?

23· · · · · A· · To train and develop the officers.

24· · · · · Q· · There is an allegation in your

25· ·complaint at Paragraph 36 where you indicate


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·1· · · · · · · · · · · Carpenter

·2· ·that following your injury at the police

·3· ·department, that you were ordered to see the

·4· ·police doctor?

·5· · · · · A· · Yes.

·6· · · · · Q· · Can you describe that allegation?

·7· · · · · A· · Well, I was transported from

·8· ·police headquarters following my fall to the

·9· ·emergency room, where I was diagnosed with a

10· ·torn meniscus.· I was issued crutches and --

11· ·and told not to bear weight on it.· And the

12· ·police doctor had been contacted and notified.

13· · · · · · · ·And so on this particular day,

14· ·Chief Dumser ordered me from my home to report

15· ·to HQ and that I had to -- and I simply said to

16· ·him that -- but I had to do it that day.· And I

17· ·explained to him that I'm on crutches.· I have

18· ·limited mobility.· I didn't have any

19· ·transportation.· They had to arrange for

20· ·transportation.

21· · · · · Q· · Now, you were injured on April

22· ·14th of 2014, is that correct?

23· · · · · A· · Right.

24· · · · · Q· · And the incident we are referring

25· ·to was on April 23, 2014?


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Yes.

·3· · · · · Q· · So about nine days later?

·4· · · · · A· · Yes.

·5· · · · · Q· · During this time, by regulations,

·6· ·you were to be sick in quarters, sick at home?

·7· · · · · A· · Yes.

·8· · · · · Q· · And during this time where you are

·9· ·sick in quarters or sick at home, you would be

10· ·allowed to leave your house for certain

11· ·reasons?

12· · · · · A· · Allowed to?

13· · · · · Q· · Yes.

14· · · · · A· · Yes.

15· · · · · Q· · You had to ask permission to

16· ·leave?

17· · · · · A· · Right.

18· · · · · Q· · And you would be expected to

19· ·report in to the police department from time to

20· ·time, is that correct?

21· · · · · A· · On this particular day, I was

22· ·asked to report to headquarters.

23· · · · · Q· · Do you know of other officers who

24· ·are on sick leave, or 207 leave, who are

25· ·required to report in to the police department?


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Who are required to report in to

·3· ·the police department?

·4· · · · · Q· · Like you did.

·5· · · · · A· · No.· Required to report means to

·6· ·make a phone call if you have to go to the

·7· ·doctor and you let -- make notification.

·8· · · · · Q· · You don't know of any other police

·9· ·officers who were required to physically show

10· ·up at the police department while they are

11· ·either sick or on 207 sick leave?

12· · · · · A· · I know of one sergeant at the time

13· ·who was required to, but he was provided with

14· ·transportation.

15· · · · · Q· · So other than lacking

16· ·transportation, was there an objection to the

17· ·request that you had to show up at the --

18· · · · · A· · No, the only -- the only challenge

19· ·I had was I was physically unable to drive.

20· ·And I simply said, you know, I don't have --

21· ·and I expressed that, and he said that's your

22· ·problem.

23· · · · · Q· · Is there anything else regarding

24· ·that allegation in the complaint that is

25· ·significant for your lawsuit?


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · The significance was that -- that

·3· ·I was treated differently than other male

·4· ·counterparts who were allowed -- provided

·5· ·transportation to come to headquarters.

·6· · · · · Q· · What other male counterparts were

·7· ·provided transportation?

·8· · · · · A· · Sergeant Mitchell was provided

·9· ·transportation by the department to go to the

10· ·doctor to be transported back and forth.

11· · · · · Q· · How do you know that?

12· · · · · A· · Because they -- it was in the Com

13· ·Stat report.

14· · · · · Q· · How would it have appeared in the

15· ·Com Stat report?

16· · · · · A· · I don't know but I read it.· It

17· ·was in the -- it was in a -- it was in a

18· ·report.

19· · · · · Q· · For the record, what is Com Stat?

20· · · · · A· · Com Stat is where, you know, the

21· ·command staff meets and they go over different

22· ·data that pertains to the functioning of the

23· ·department.

24· · · · · Q· · And your testimony is that his

25· ·medical transportation showed up in Com Stat --


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · It did.

·3· · · · · Q· · -- data?

·4· · · · · A· · It showed up in a report.

·5· · · · · Q· · In your complaint at Paragraphs 43

·6· ·through 54, you refer to the denial of your

·7· ·207-C claim.

·8· · · · · · · ·Do you recall those allegations?

·9· · · · · A· · I am -- what allegations do you

10· ·speak about?

11· · · · · Q· · Well, actually, Paragraph 40

12· ·references a denial of benefits a second time.

13· ·Do you see that?

14· · · · · · · ·MR. SMITH:· Off the record for a

15· · · · · second.

16· · · · · · · ·(Discussion held off the record.)

17· · · · · · · ·MR. SMITH:· What was the question

18· · · · · again?

19· · · · · · · ·(The record is read back by the

20· · · · · reporter.)

21· · · · · A· · I see it.

22· · · · · Q· · Was the denial subsequently

23· ·modified at some point in time?

24· · · · · A· · The denial, according to Captain

25· ·Goldman, was put on abeyance until further


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·1· · · · · · · · · · · Carpenter

·2· ·investigation.

·3· · · · · · · ·MR. SWEENEY:· We can go off the

·4· · · · · record.

·5· · · · · · · ·(Discussion held off the record.)

·6· · · · · Q· · Sergeant Carpenter, is there

·7· ·something you wanted to clarify on the record?

·8· · · · · A· · Yeah.· When I was talking to

·9· ·Lieutenant Nawrocki when he made the statement,

10· ·You should -- you need to control your

11· ·emotions, I recorded him on my cell phone that

12· ·I had at that time.· That was obviously way

13· ·before the lawsuit.· But I don't have that

14· ·recording anymore.· I don't have the phone

15· ·anymore.

16· · · · · Q· · Did you provide a copy of that

17· ·recording to anyone?

18· · · · · A· · No.

19· · · · · Q· · When you had the conversation with

20· ·Lieutenant Nawrocki and he was taped, I assume

21· ·that you start taping before the conversation

22· ·started?

23· · · · · A· · Before the conversation started.

24· · · · · Q· · As opposed to in the middle of the

25· ·conversation?


                                                                       YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · I don't remember.

·3· · · · · Q· · Why did you want to record that

·4· ·particular conversation?

·5· · · · · A· · Because we were not communicating

·6· ·well, and I wanted the conversation to be able

·7· ·to -- if I ever needed to refer to it, I wanted

·8· ·it to be -- to be able -- I wanted to be able

·9· ·to -- the truth of the conversation to be

10· ·conveyed, as opposed to allegations that I had

11· ·become used to.

12· · · · · Q· · What do you mean, allegations that

13· ·you have become used to?

14· · · · · A· · Allegations that, you know -- of

15· ·my actions.· I just wanted to make sure that if

16· ·anything came of it, that it would be conveyed

17· ·truthfully.

18· · · · · Q· · So this taping would have occurred

19· ·in October of 2013?

20· · · · · A· · Right.

21· · · · · Q· · And it was following the roll call

22· ·that day?

23· · · · · A· · Right.

24· · · · · Q· · And this was taped in the presence

25· ·of, is it                     ?
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Right.

·3· · · · · Q· · Did Lieutenant Nawrocki know that

·4· ·he was being taped?

·5· · · · · A· · I don't know, but I did have my

·6· ·phone out.

·7· · · · · Q· · When you say out, was it --

·8· · · · · A· · I had it in my hand just like this

·9· ·(indicating).

10· · · · · · · ·MR. SMITH:· Just wait for him to

11· · · · · finish the question.

12· · · · · Q· · You indicated that you had it

13· ·palms up displayed like that?

14· · · · · A· · Yes, I did.

15· · · · · Q· · Are there any other occasions

16· ·where you taped other co-workers at the Mount

17· ·Vernon Police Department --

18· · · · · A· · Not that I remember.

19· · · · · Q· · -- specifically regarding the

20· ·allegations in this lawsuit?

21· · · · · A· · That I taped anybody?· Yes, yes,

22· ·Lieutenant Curzio.

23· · · · · Q· · When did you tape Lieutenant

24· ·Curzio?

25· · · · · A· · The -- the -- when I fell.


                                                                        YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · That's the fall in April of 2014?

·3· · · · · A· · Right.

·4· · · · · Q· · Why did you tape Lieutenant

·5· ·Curzio?

·6· · · · · A· · Because he was being just

·7· ·completely -- he was just being completely

·8· ·ridiculous.· I was in extreme pain and, you

·9· ·know, his behavior up until that point, it was

10· ·just constant harassment, harassment,

11· ·harassment.

12· · · · · Q· · What do you mean?

13· · · · · A· · And so I had gotten to a point

14· ·where I felt like I needed to protect myself.

15· · · · · Q· · I don't know what you mean, so I

16· ·want you to walk me through the sequence of

17· ·events that led up to you taping Lieutenant

18· ·Curzio.

19· · · · · A· · Yeah, I -- I went down to -- to

20· ·get my memo book.· I realized I didn't have the

21· ·key 'cause my -- my bag was up at the desk.· So

22· ·I come back upstairs after I'm injured.

23· · · · · · · ·I'm explaining to him, and he's

24· ·just not listening.· He's going on about, you

25· ·know, I just want your memo book.· And I'm


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·1· · · · · · · · · · · Carpenter

·2· ·saying, Just get me an ambulance.

·3· · · · · · · ·And so instead of just arguing

·4· ·with him -- and he's going back and forth about

·5· ·this memo book, and I'm in extreme pain, and

·6· ·I'm saying, I need an ambulance.· And so at

·7· ·that point, I decided to tape him.

·8· · · · · Q· · And did you record him?

·9· · · · · A· · Yes.

10· · · · · Q· · And what did you do with that

11· ·recording?

12· · · · · A· · My phone -- my phone died.· That's

13· ·basically what happened.

14· · · · · Q· · When you say your phone died, what

15· ·do you mean by that?

16· · · · · A· · Yeah, it just -- I just lost -- I

17· ·ended up having to get a new phone, and the

18· ·recordings didn't transfer.

19· · · · · Q· · Did you bring it to anyone to

20· ·transfer the recordings?

21· · · · · A· · No, it was -- it just stopped

22· ·working, actually.· It wasn't even like I

23· ·couldn't -- I mean, trust me, I was upset too.

24· ·But it just -- I had to get another phone.

25· · · · · Q· · Did Lieutenant Curzio know that he


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·was being recorded?

·3· · · · · A· · No.

·4· · · · · Q· · You describe having the phone out

·5· ·palms up with the Lieutenant Nawrocki incident.

·6· ·You didn't do the same thing with Lieutenant

·7· ·Curzio?

·8· · · · · A· · It was on the desk.

·9· · · · · Q· · In April of 2014, you would have

10· ·already filed two complaints with the city's HR

11· ·department, is that correct?

12· · · · · A· · Right.

13· · · · · Q· · And did you know that those

14· ·recordings would have been valuable evidence in

15· ·support of your claim?

16· · · · · A· · I was -- yes.

17· · · · · Q· · Did you tell anyone that you had

18· ·made recordings of Lieutenant Nawrocki or

19· ·Lieutenant Curzio?

20· · · · · A· · I -- I did tell the -- well,

21· ·ultimately I was assigned the PBA attorney, so

22· ·I did tell him.

23· · · · · Q· · Which PBA attorney is that?

24· · · · · A· · Garafola.

25· · · · · Q· · And I don't want to get into your


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·descriptions or your conversations with

·3· ·Attorney Garafola, but what time frame would

·4· ·that conversation have taken place?

·5· · · · · A· · What do you mean, what time frame?

·6· · · · · Q· · What month or date?

·7· · · · · A· · When he -- I guess sometime during

·8· ·2014.

·9· · · · · Q· · Was that in connection with the

10· ·207 claim --

11· · · · · A· · Yes.

12· · · · · Q· · -- or some other matter?

13· · · · · · · ·Let's do it this way.· I am going

14· ·to show you what's marked as Defendants'

15· ·Exhibit Y, which is Bates stamped 111.

16· · · · · · · ·(Mr. Sweeney hands document

17· · · · · to witness.)

18· · · · · Q· · What is Defendants' Exhibit Y?

19· · · · · A· · This is the report that I

20· ·submitted regarding my fall.

21· · · · · Q· · That's the fall of April 14, 2014?

22· · · · · A· · Right.

23· · · · · Q· · That's when you were going

24· ·downstairs to get your memo book?

25· · · · · A· · Right.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And you were asked to provide

·3· ·an MV-5 to describe your actions prior to

·4· ·the fall?

·5· · · · · A· · To describe my actions prior to my

·6· ·fall?

·7· · · · · Q· · Or how your fall occurred?

·8· · · · · A· · Right.

·9· · · · · Q· · That's the reason you filled it

10· ·out, right?

11· · · · · A· · I filled it out as part of

12· ·procedure.· We have to submit -- we have to

13· ·follow it up with a report.· I was asked to.

14· · · · · Q· · You were asked to provide a

15· ·narrative description of what happened to you,

16· ·is that correct?

17· · · · · A· · I believe so.· I was asked to

18· ·provide a request for 207-C to be considered

19· ·for 207-C in writing.

20· · · · · Q· · I am going to hand you what is

21· ·marked as Defendants' Exhibit Z, as in zebra,

22· ·Bates stamped 112 through 114, and ask you to

23· ·take a look at that.

24· · · · · · · ·(Mr. Sweeney hands document

25· · · · · to witness.)


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Okay.

·3· · · · · Q· · What is that document?

·4· · · · · A· · This is a supervisory report

·5· ·written by Lieutenant Curzio regarding the

·6· ·incident of my fall that occurred on April 14,

·7· ·2014, in spite of the fact that he did not

·8· ·investigate.· He was not the investigating

·9· ·officer.

10· · · · · Q· · At some point in time, did you get

11· ·a copy of Lieutenant Curzio's -- is it MV93?

12· · · · · A· · I got it from -- yes, it was --

13· ·yes, I did.

14· · · · · Q· · When did you get a copy of that?

15· · · · · A· · I got it during the 207-C hearing.

16· · · · · Q· · Exhibit Z --

17· · · · · A· · I got it actually following a

18· ·207-C hearing.

19· · · · · Q· · Were you questioned with respect

20· ·to the fact that you didn't have the memo book

21· ·available on or about April 14, 2014?

22· · · · · A· · Was I questioned by whom?

23· · · · · Q· · Anyone at the police department.

24· · · · · A· · When?

25· · · · · Q· · Anyone at the police department on


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·or after April 14, 2014 about the lack -- your

·3· ·lack of a memo book.

·4· · · · · A· · I was questioned by Lieutenant

·5· ·Curzio.

·6· · · · · Q· · And is that set forth in Exhibit

·7· ·Z, his questioning of you?

·8· · · · · A· · Yes, he states that he questioned

·9· ·me about my memo book.

10· · · · · Q· · What was the reason that

11· ·Lieutenant Curzio wanted to see your memo book?

12· · · · · A· · He didn't say.· The day before,

13· ·the -- a few days before, Lieutenant Godshall

14· ·advised me that there was an incident he needed

15· ·to look up, and he gave me a particular date in

16· ·my memo book.· And I explained to him that I

17· ·had to catch it up, but there was no real

18· ·incident that had occurred that he could tell

19· ·me about so --

20· · · · · Q· · I am going to show you what's

21· ·marked as XX, which is Bates stamped 395.

22· · · · · · · ·(Mr. Sweeney hands document

23· · · · · to witness.)

24· · · · · A· · Okay.

25· · · · · Q· · Do you recognize that exhibit?


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · I recognize it.

·3· · · · · Q· · Do you recall receiving that

·4· ·letter from Captain Goldman?

·5· · · · · A· · Yes, I do.

·6· · · · · Q· · And in response to that letter,

·7· ·you provided certain medical information to

·8· ·Captain Goldman, is that correct?

·9· · · · · A· · In response to this letter, I

10· ·called, and I got, I think Lieutenant Nawrocki

11· ·on the phone.

12· · · · · Q· · And did you provide any additional

13· ·information?

14· · · · · A· · I -- I did send another copy of

15· ·the information.

16· · · · · Q· · All right.· I will take that back.

17· · · · · · · ·(Witness hands document

18· · · · · to Mr. Sweeney.)

19· · · · · Q· · At some point in time, the denial

20· ·of your 207 claim had been modified?· I have

21· ·just handed you Exhibit VV --

22· · · · · A· · Right.

23· · · · · Q· · -- Bates stamped 393.

24· · · · · · · ·Do you recall receiving that

25· ·letter?


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · I do.

·3· · · · · Q· · And that letter indicated to you

·4· ·that your denial had been modified of your

·5· ·claim?

·6· · · · · A· · The letter from Captain Goldman at

·7· ·the time referenced that the denial of my 207-C

·8· ·claim was based on my failure to cooperate, and

·9· ·that was not true.

10· · · · · Q· · But at some point in time, you

11· ·received notification from the police

12· ·department that your 207-C claim was being

13· ·looked at or reviewed again?

14· · · · · A· · He further, he goes on to say,

15· ·Please be advised that action on your appeal is

16· ·being held in abeyance so that the Mount

17· ·Vernon -- so that the City of Mount Vernon can

18· ·reopen its investigation by collecting relevant

19· ·medical records, which they never did, and

20· ·arranging for an IME, which also they never

21· ·did.

22· · · · · Q· · There came a point in time where

23· ·the police commissioner issued you a revised

24· ·denial?

25· · · · · A· · Yes, he did.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Is that set forth on Exhibit YY?

·3· · · · · A· · Yes, it is.

·4· · · · · Q· · And did you take an appeal from

·5· ·that denial in September of 2014?

·6· · · · · A· · This denial, it -- it indicates

·7· ·that I have the right to appeal this denial by

·8· ·requesting an appeal hearing within ten days of

·9· ·the receipt of this letter, which I did do.

10· · · · · Q· · And you had a hearing at police

11· ·headquarters, correct?

12· · · · · A· · I did.

13· · · · · Q· · You were represented by counsel at

14· ·that hearing?

15· · · · · A· · I was representing by counsel.

16· · · · · Q· · Was that Attorney Garafola?

17· · · · · A· · Yes.

18· · · · · Q· · And did you produce witnesses on

19· ·your behalf?

20· · · · · A· · I did.

21· · · · · Q· · And that was presided over by

22· ·Deputy Chief --

23· · · · · A· · Deputy Chief Commissioner Raynor

24· ·designated -- Police Commissioner Terrence

25· ·Raynor designated Deputy Commissioner Richard


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·Burke to preside over my 207-C hearing, in

·3· ·spite of the fact that we did request an

·4· ·independent hearing arbitrator.

·5· · · · · Q· · There came a time where Police

·6· ·Commissioner Raynor issued a final

·7· ·determination on your appeal correct?

·8· · · · · A· · Yes, he did.· He upheld his

·9· ·initial denial.

10· · · · · Q· · And did you appeal from that

11· ·denial to the Supreme Court?

12· · · · · A· · No, I did not.

13· · · · · Q· · Why did you not?

14· · · · · A· · I didn't have any money.· I had

15· ·been out of work, not getting paid, and I had

16· ·been crippled financially.· And I was

17· ·financially unable to pursue the matter further

18· ·as a result of that decision.

19· · · · · Q· · The effect of that determination

20· ·was to find that you were not injured in the

21· ·line of duty, is that correct?

22· · · · · A· · The effect of that determination

23· ·was to deny me the 207-C, was to deny me 207-C

24· ·benefits.

25· · · · · Q· · Now, in your complaint, you


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·allege, Paragraph 37, that you were designated

·3· ·as a chronic absentee?

·4· · · · · A· · Yes.

·5· · · · · Q· · Can you tell me about that

·6· ·allegation?

·7· · · · · A· · Well, I simply received a letter

·8· ·while I was already out injured that I was

·9· ·designated chronic sick.· And I wasn't given

10· ·the -- the ability of due process, as

11· ·stipulated in the rules and regulations, or

12· ·that has been afforded other officers who have

13· ·been accused of the same thing.

14· · · · · · · ·MR. SWEENEY:· Can I have that

15· · · · · marked?

16· · · · · · · ·(Document is marked Defendants'

17· · · · · Exhibit EEE for identification, as of

18· · · · · this date.)

19· · · · · · · ·MR. SWEENEY:· Off the record.

20· · · · · · · ·(Discussion held off the record.)

21· · · · · Q· · I am showing you what is EEE,

22· ·which is Bates stamped 107.

23· · · · · · · ·(Mr. Sweeney hands document

24· · · · · to witness.)

25· · · · · A· · Okay.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Do you recognize what that is?

·3· · · · · A· · It's an e-mail from Captain

·4· ·Hastings, a memo from Captain Hastings

·5· ·requesting that all sergeants are reminded to

·6· ·review records of their prospective assigned

·7· ·officers and forward chronic sick

·8· ·recommendations.

·9· · · · · Q· · Does that document set forth the

10· ·criteria to be designated as a chronic sick?

11· · · · · A· · It doesn't complete -- this is not

12· ·complete.

13· · · · · Q· · In what respect is it not

14· ·complete?

15· · · · · A· · There's -- the process is missing.

16· · · · · Q· · What process is missing?

17· · · · · A· · The process of designating someone

18· ·as chronic sick is missing.· This doesn't

19· ·have -- this is not complete (indicating).

20· ·This is just, you know, a memo that he sent as

21· ·a reminder and for some bases to go on but

22· ·the -- it's a little bit more extensive.

23· ·Administrative guide that he references here

24· ·is -- is a lot more lengthier than this

25· ·(indicating).


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Okay.

·3· · · · · A· · It's 2023.

·4· · · · · Q· · I am going to show you what's

·5· ·marked as Defendants' Exhibit X, which is Bates

·6· ·stamped 110, I believe.

·7· · · · · · · ·(Mr. Sweeney hands document

·8· · · · · to witness.)

·9· · · · · Q· · Do you recognize that?

10· · · · · A· · Yes.

11· · · · · Q· · What is that?

12· · · · · A· · This is a letter from Captain

13· ·Goldman advising me that I have pursuant to

14· ·department manual 2.023 of the administrative

15· ·guide chronic absent -- that I been designated

16· ·a chronic absentee, I am ineligible for

17· ·voluntary overtime and off-duty employment.

18· ·Please be aware that this notice takes place

19· ·immediately.

20· · · · · · · ·Once again, Captain Goldman in

21· ·sending this directive towards me in particular

22· ·negates the complete process that is spelled

23· ·out in the department manual of 2.023 regarding

24· ·chronic absences.

25· · · · · Q· · Did you take any appeals from that


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·determination?

·3· · · · · A· · I was out already.· I mean, I

·4· ·was -- this although this is -- this is -- this

·5· ·is dated April 7th, I didn't get it -- receive

·6· ·it till after I was already home.

·7· · · · · Q· · So when would that have been that

·8· ·you received it?

·9· · · · · A· · It was after April 14th, after I

10· ·fell.

11· · · · · Q· · Sometime in April of 2014?

12· · · · · A· · Right.

13· · · · · Q· · And after you received that

14· ·sometime in April of 2014, did you appeal from

15· ·that determination?

16· · · · · A· · I was already injured.· I was in

17· ·really, really bad shape initially.· It was

18· ·just -- I had sent a letter to the PBA to have

19· ·them handle it because that's what they're

20· ·supposed to do.· And I didn't get any response.

21· · · · · Q· · Did you follow up after you didn't

22· ·get a response from the PBA?

23· · · · · A· · No, I was -- once again, I was out

24· ·injured.· I was trying to manage a lot of

25· ·things as a result of my injury.· And initially


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·I did follow up with the PBA, but that's about

·3· ·the extent of it.

·4· · · · · Q· · I am going to show you what's been

·5· ·marked as Defendants' Exhibit DD, which is

·6· ·Bates stamped 133, 134 and ask you to take a

·7· ·look at that.

·8· · · · · · · ·(Mr. Sweeney hands document

·9· · · · · to witness.)

10· · · · · A· · You keep referring to me as --

11· ·who's the defendant?· I'm the plaintiff,

12· ·correct?

13· · · · · · · ·MR. SMITH:· Off the record for one

14· · · · · second.

15· · · · · · · ·(Discussion held off the record.)

16· · · · · A· · Okay.· This is a letter I sent to

17· ·PBA President Greg Addison, the PBA president,

18· ·dated April -- dated May 7th, I'm sorry.· And

19· ·it states on -- this says dated May 7th, it

20· ·says -- oh boy.· I messed up.· I transposed the

21· ·numbers, apparently.

22· · · · · · · ·But I received a letter from

23· ·Captain Goldman indicating that I was being

24· ·placed on chronic sick list.· Days later, I

25· ·learned that my name was on public display at


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·headquarters on green paper, typically

·3· ·designated to display the names of those who

·4· ·have faced disciplinary action.

·5· · · · · · · ·I had become aware that PBA

·6· ·President Addison and PBA Trustee Patrick

·7· ·Jean-Jerome had already begun consideration

·8· ·conversations with Commissioner Raynor

·9· ·regarding the chronic sick policy, and I am

10· ·submitting the above as a formal grievance

11· ·utilizing the resources afforded me as a member

12· ·of the Police Benevolent Association.

13· · · · · · · ·I'm asking that you intervene in

14· ·such a way that the policy is properly

15· ·evaluated, and my name is rescinded from the

16· ·chronic sick designation ASAP.

17· · · · · Q· · After sending this letter or

18· ·e-mail to Greg Addison on or about May 7, 2014,

19· ·you said you transposed numbers.· Looking at --

20· ·strike that.· Looking at the first page of

21· ·Exhibit DD --

22· · · · · A· · Yes.

23· · · · · Q· · -- which is Bates stamped 133, it

24· ·appears to be dated May 7, 2014, is that right?

25· · · · · A· · Right.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And there appears to be another

·3· ·date in the first sentence?

·4· · · · · A· · Yes.

·5· · · · · Q· · And what was the date supposed to

·6· ·have been?

·7· · · · · A· · I don't know what date it was

·8· ·supposed to have been.· The first is -- it

·9· ·states 05/20/14.· So May of 2014 is what

10· ·somehow I mixed up the numbers.· I wrote the

11· ·number in error.

12· · · · · Q· · Would that number that looks like

13· ·it is erroneous, would that have been before or

14· ·after May 7th of 2014?· The letter is dated May

15· ·7th, right?

16· · · · · A· · Right.· So it would have had to

17· ·have been before May 7th.

18· · · · · Q· · Did you receive response from Greg

19· ·Addison or anyone else at the PBA?

20· · · · · A· · I don't remember.

21· · · · · Q· · Well, do you know if the PBA filed

22· ·a grievance on your behalf?

23· · · · · A· · I don't remember.

24· · · · · Q· · Is there --

25· · · · · A· · Again, that's during the time when


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·I was injured, and I was in severe pain trying

·3· ·to manage, that being the priority.· So I don't

·4· ·remember if they did or not.· My priority focus

·5· ·at the time was really getting treated for my

·6· ·injury.

·7· · · · · Q· · What procedures would have to be

·8· ·followed in order to appeal from a chronic

·9· ·absentee designation?

10· · · · · A· · What procedures specifically?

11· ·It's stipulated in the rules and regulations of

12· ·the chronic sick policy.

13· · · · · Q· · So whatever procedures are set

14· ·forth in the rules and regulations are the ones

15· ·you would have to follow --

16· · · · · A· · Yeah.

17· · · · · Q· · -- is that correct?

18· · · · · A· · And also that the department is

19· ·bound to follow as well.

20· · · · · Q· · Now, in addition to filing

21· ·submissions with the city's human resources

22· ·person, you also filed an EEOC complaint, is

23· ·that correct?

24· · · · · A· · Yes, I did.

25· · · · · Q· · I am going to show you what's


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·marked as Defendants' Exhibit EE, which starts

·3· ·with Bates stamp 147.

·4· · · · · · · ·(Mr. Sweeney hands document

·5· · · · · to witness.)

·6· · · · · A· · Okay.

·7· · · · · Q· · Do you recognize that exhibit?

·8· · · · · A· · Yes.

·9· · · · · Q· · What is it?

10· · · · · A· · This is a response from the Equal

11· ·Employment Opportunity Commission to the --

12· ·acknowledging the charge of employment

13· ·discrimination against the City of Mount

14· ·Vernon.

15· · · · · Q· · And what's the date of the EEOC

16· ·acknowledgement of your claim or your charge?

17· · · · · A· · The acknowledgment, April 25,

18· ·2014.

19· · · · · Q· · Right, and I take it that you had

20· ·filed a charge with the EEOC or your attorney

21· ·had filed a charge before that date?

22· · · · · A· · Yes, it's dated March 24th.

23· · · · · Q· · Did you have an attorney assist

24· ·you with that filing?

25· · · · · A· · Yes.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And who was that attorney?

·3· · · · · A· · Patricia Mulligan.

·4· · · · · Q· · Did you provide a copy of that to

·5· ·anyone at the Mount Vernon Police Department

·6· ·after it was filed?

·7· · · · · A· · No.

·8· · · · · Q· · Do you know if your attorney

·9· ·provided a copy of that to anyone at the Mount

10· ·Vernon Police Department?

11· · · · · A· · I'm sure she -- I believe she did.

12· · · · · Q· · Who would she have provided that

13· ·to?

14· · · · · A· · Well, I don't -- I'm not sure, I'm

15· ·not sure.

16· · · · · Q· · There came a time where the EEOC

17· ·declined to accept the charge, is that correct?

18· · · · · A· · The -- I don't know.

19· · · · · Q· · I am showing you what is marked as

20· ·Defendants' Exhibit TT, and it is Bates stamped

21· ·313 and 314.

22· · · · · · · ·(Mr. Sweeney hands document

23· · · · · to witness.)

24· · · · · A· · And what was the question?

25· · · · · · · ·MR. SWEENEY:· What was the


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · question?

·3· · · · · · · ·(The record is read back by the

·4· · · · · reporter.)

·5· · · · · Q· · I was going to ask you if you

·6· ·recall receiving that in the EEOC.

·7· · · · · A· · I -- I don't recall receiving this

·8· ·from the EEOC.

·9· · · · · Q· · Okay, I will take that back.

10· · · · · · · ·(Witness hands document

11· · · · · to Mr. Sweeney.)

12· · · · · Q· · I am going to show you what

13· ·is marked as Exhibit UU, which is Bates stamped

14· ·322.

15· · · · · · · ·(Mr. Sweeney hands document

16· · · · · to witness.)

17· · · · · A· · Okay.

18· · · · · Q· · Do you recall receiving that?

19· · · · · A· · No, I did not receive this.

20· · · · · Q· · You didn't receive it or you don't

21· ·recall receiving it?

22· · · · · A· · I don't recall receiving this.

23· · · · · Q· · Do you know what the EEOC did with

24· ·your charge?

25· · · · · A· · As far as I know, they issued a


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·right to sue.

·3· · · · · Q· · Right?

·4· · · · · A· · Letter.

·5· · · · · Q· · But you don't know if they ruled

·6· ·on whether or not you had reasonable cause for

·7· ·your charge?

·8· · · · · A· · I have heard that the right to sue

·9· ·was sufficient evidence that there was

10· ·reasonable cause.

11· · · · · Q· · The memorandum that you are

12· ·looking at from the EEOC indicates that the

13· ·city produced evidence that complaints had been

14· ·made against you?

15· · · · · A· · Right.

16· · · · · Q· · Do you know what complaints that

17· ·refers to?

18· · · · · A· · No.

19· · · · · Q· · The memorandum you are looking at

20· ·refers to discipline being taken against

21· ·certain police officers that you brought up.

22· ·Do you see that?

23· · · · · A· · I see it.

24· · · · · Q· · Do you know what discipline was

25· ·taken against the officers that --


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · No, I don't.

·3· · · · · Q· · The memorandum you are looking at

·4· ·refers to you making judgments based on race,

·5· ·do you see that?

·6· · · · · A· · Yes.

·7· · · · · Q· · Did you make judgments based on

·8· ·race?

·9· · · · · A· · I don't know what they're

10· ·referring to.

11· · · · · Q· · Okay.· I can take that back.

12· · · · · · · ·(Witness hands document

13· · · · · to Mr. Sweeney.)

14· · · · · Q· · I am showing you what is marked as

15· ·Defendants' Exhibit ZZ.· It is two pages Bates

16· ·stamped.· Really can't see the Bates stamp.· It

17· ·is in the 930 range.

18· · · · · · · ·MR. SMITH:· Is this it

19· · · · · (indicating)?

20· · · · · · · ·MR. SWEENEY:· Yes.

21· · · · · · · ·MR. SMITH:· Okay.

22· · · · · · · ·(Mr. Sweeney hands document

23· · · · · to witness.)

24· · · · · A· · Okay.

25· · · · · Q· · Do you recognize that document?


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · It appears that it's a performance

·3· ·evaluation signed by Lieutenant Curzio.

·4· · · · · Q· · You received that evaluation, I

·5· ·take it?

·6· · · · · A· · I did not.

·7· · · · · Q· · You don't recall receiving it or

·8· ·you didn't receive it?

·9· · · · · A· · I didn't -- I don't recall

10· ·receiving this.

11· · · · · Q· · Did you file any appeals of a

12· ·evaluation from Lieutenant Curzio from the

13· ·April 2014 time frame?

14· · · · · A· · I'm sorry?

15· · · · · Q· · Did you file any appeals of an

16· ·evaluation that Lieutenant Curzio did in April

17· ·of 2014 time frame?

18· · · · · A· · No.

19· · · · · Q· · You are supposed to receive

20· ·periodic evaluations, correct?

21· · · · · A· · Yes.

22· · · · · Q· · And it is your testimony that you

23· ·never received or you don't recall receiving an

24· ·evaluation from the April 2014 time frame?

25· · · · · A· · No.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · No, that you didn't receive it or

·3· ·no, you don't recall receiving it or --

·4· · · · · A· · I did not.

·5· · · · · Q· · Did not receive it?

·6· · · · · A· · I did not receive it.

·7· · · · · · · ·MR. SWEENEY:· Off the record.

·8· · · · · · · ·(Discussion held off the record.)

·9· · · · · · · ·MR. SMITH:· Can you just repeat

10· · · · · back I guess those two questions and

11· · · · · what her responses to those were?

12· · · · · · · ·(The record is read back by the

13· · · · · reporter.)

14· · · · · · · ·MR. SMITH:· You can ask a

15· · · · · different question but that's --

16· · · · · Q· · Just for clarify for the record,

17· ·Sergeant Carpenter, looking at Exhibit ZZ,

18· ·which appears to be a performance evaluation of

19· ·you in the April of 2014 time frame, it is your

20· ·testimony under oath that you never received

21· ·that evaluation?

22· · · · · A· · Yes.

23· · · · · Q· · Okay.

24· · · · · · · ·Sergeant Carpenter, going back to

25· ·an earlier line of questioning, with respect to


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·the recordings that you made on your cell phone

·3· ·which died, did you upload those to any

·4· ·database?

·5· · · · · A· · No.

·6· · · · · Q· · Did you transfer those to your

·7· ·computer?

·8· · · · · A· · No.

·9· · · · · Q· · Did you make a copy of that for

10· ·any other person?

11· · · · · A· · No.

12· · · · · Q· · Are there any copies of that

13· ·recording in existence?

14· · · · · A· · No.

15· · · · · Q· · What happened to the cell phone

16· ·that died?

17· · · · · A· · It was --

18· · · · · Q· · Do you still have it in your

19· ·possession?

20· · · · · A· · No, I don't have it.· While I was

21· ·out it just -- it just stopped working.· And

22· ·there's -- I went to the store to explain to

23· ·them that my phone wasn't working, and I got

24· ·duped into buying a new phone and -- and I

25· ·didn't -- the information didn't transfer, and


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·it was a mess.· That's the bottom line with

·3· ·that.

·4· · · · · Q· · When you went to the store to get

·5· ·a new --

·6· · · · · A· · I really just wanted them to look

·7· ·at it because my phone wasn't working.

·8· · · · · Q· · And what type of phone was it?

·9· · · · · A· · It was a Note.

10· · · · · Q· · A Note?

11· · · · · A· · Yeah.

12· · · · · Q· · Who makes the Note?

13· · · · · A· · Samsung.

14· · · · · Q· · And what happened to the Note, the

15· ·phone, after you went to the phone people?

16· · · · · A· · What did I do with that phone?              I

17· ·mean, it doesn't work.

18· · · · · Q· · Do you still have it?

19· · · · · A· · I don't even.

20· · · · · · · ·MR. SWEENEY:· Do it this way.· To

21· · · · · the extent that the phone still exists,

22· · · · · I make a demand for the phone be turned

23· · · · · over and that all relevant evidence be

24· · · · · preserved.

25· · · · · Q· · I am going to show you what is


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·marked as BBB.· Again, there is no real Bates

·3· ·stamps I can see on the bottom.

·4· · · · · · · ·(Mr. Sweeney hands document

·5· · · · · to witness.)

·6· · · · · A· · Right.

·7· · · · · Q· · Do you recognize what that is?

·8· · · · · A· · This is a memo.· Okay.· This is a

·9· ·memo to Commissioner Raynor from Deputy

10· ·Commissioner Richard Burke.· It's dated

11· ·November 17, 2013 and -- and his recommendation

12· ·that I be disciplined for an injury I sustained

13· ·while on duty, July 19, 2013.

14· · · · · Q· · You claimed a line of duty injury

15· ·in July of 2013?

16· · · · · A· · Yes.

17· · · · · Q· · And that occurred during a

18· ·training evaluation, as I understand it?

19· · · · · A· · Yes.

20· · · · · Q· · What training were you taking at

21· ·that time?

22· · · · · A· · It was an active shooter training.

23· · · · · Q· · And what happened to you that you

24· ·got injured?

25· · · · · A· · I fell.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Where did you fall?

·3· · · · · A· · I fell on -- inside Saints Peter

·4· ·and Paul School that we were training at.

·5· · · · · Q· · And you sustained a knee injury?

·6· · · · · A· · Yes.

·7· · · · · Q· · In April of 2000, when getting

·8· ·your memo book, you sustained a knee injury?

·9· · · · · A· · Yes, I did.

10· · · · · Q· · And you tripped and fell on the

11· ·stairs at the police department?

12· · · · · A· · I fell on the steps at the police

13· ·department.

14· · · · · Q· · Same knee?

15· · · · · A· · The same knee.

16· · · · · Q· · Did you have permission to leave

17· ·training early?

18· · · · · A· · Leave training early?

19· · · · · Q· · Yes.· Strike that.

20· · · · · · · ·Were you present for all of the

21· ·training, the active shooter training?

22· · · · · A· · I was present for -- I can't

23· ·remember what time.

24· · · · · Q· · Did you attend all the training?

25· · · · · A· · I believe I attended most of it.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·I mean, I was one of only the few supervisors

·3· ·that attended, myself and another supervisor.

·4· ·We -- most of the supervisors didn't attend.

·5· · · · · Q· · Do you know --

·6· · · · · A· · And we weren't required to.

·7· · · · · Q· · Do you know why Deputy

·8· ·Commissioner Burke was recommending discipline

·9· ·against you?

10· · · · · A· · No.

11· · · · · Q· · Have you seen that before today?

12· · · · · A· · I've seen this.· It was -- yes,

13· ·but I was never -- I've seen it.

14· · · · · Q· · And you were never disciplined for

15· ·that incident?

16· · · · · A· · No.

17· · · · · Q· · There came a time that you were

18· ·directed to undergo a psychological

19· ·fitness-for-duty exam, is that correct?

20· · · · · A· · Yes.

21· · · · · Q· · And that allegation is set forth

22· ·in Paragraph 48 of your complaint, is that

23· ·right?

24· · · · · A· · Okay.· Yes.

25· · · · · Q· · Is that correct?


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Yes.

·3· · · · · Q· · I am going to hand you what is

·4· ·marked as Defendants' Exhibit LL, which is

·5· ·Bates stamped 188.

·6· · · · · · · ·(Mr. Sweeney hands document

·7· · · · · to witness.)

·8· · · · · A· · Okay.

·9· · · · · Q· · Do you recognize that document?

10· · · · · A· · Yes.

11· · · · · Q· · What is it?

12· · · · · A· · This is a letter I received from

13· ·Commissioner Raynor ordering me to report for a

14· ·fitness-for-duty examination that has -- was

15· ·scheduled for July 28 2014.

16· · · · · Q· · And you attended that examination?

17· · · · · A· · Yes, I did.

18· · · · · Q· · I am handing you Exhibit PP, which

19· ·starts with Bates stamped number 199.

20· · · · · · · ·(Mr. Sweeney hands document

21· · · · · to witness.)

22· · · · · A· · Okay.

23· · · · · Q· · Do you recall receiving a copy of

24· ·that examination report?

25· · · · · A· · I do.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · When you met with Dr. Fayer,

·3· ·F-A-Y-E-R, did you provide him with information

·4· ·regarding how you were feeling?

·5· · · · · A· · Yes.

·6· · · · · Q· · Did he ask you questions about

·7· ·your mental status?

·8· · · · · A· · What do you mean?

·9· · · · · Q· · What questions did he ask you?

10· · · · · A· · I don't remember.· That was July,

11· ·that was back in July.

12· · · · · Q· · All right.

13· · · · · A· · You have a report.

14· · · · · Q· · Right.· Do you have a recollection

15· ·of the examination itself?

16· · · · · A· · Of course.

17· · · · · Q· · What questions did he ask?

18· · · · · A· · He asked a series of questions.

19· · · · · Q· · Did he ask you if you were

20· ·depressed?

21· · · · · A· · He may have.

22· · · · · Q· · Did he ask if you were anxious?

23· · · · · A· · He may have.

24· · · · · Q· · Did he ask if you were under

25· ·stress?


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · He may have.

·3· · · · · Q· · Can I take that back?

·4· · · · · A· · Okay.

·5· · · · · · · ·(Witness hands document

·6· · · · · to Mr. Sweeney.)

·7· · · · · Q· · In his report, he indicates that

·8· ·you denied being anxious, is that correct?

·9· · · · · A· · Is that what he indicates?

10· · · · · Q· · Your attorney has a copy of the

11· ·same report.

12· · · · · · · ·MR. SMITH:· Repeat the question,

13· · · · · I'm sorry.

14· · · · · Q· · It is on Page 206.· He indicates

15· ·in his report that you denied being anxious.

16· ·That's the first paragraph on Bates stamped

17· ·206.

18· · · · · A· · Okay.· Go ahead.· I'm sorry, she

19· ·denies being anxious.

20· · · · · Q· · Is that a correct statement, you

21· ·denied being anxious?· Did you tell him you

22· ·were anxious or that you were not anxious?

23· · · · · A· · I -- I guess I told him I was not

24· ·anxious.

25· · · · · Q· · He indicates that you denied a


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·suicidal ideation in the past or present.· Do

·3· ·you see that?

·4· · · · · A· · I see.

·5· · · · · Q· · Do you recall denying that you

·6· ·expressed feelings of wanting to commit

·7· ·suicide?

·8· · · · · A· · Correct.

·9· · · · · Q· · So you have a recollection of

10· ·that, is that correct?

11· · · · · A· · Do I have a recollection of that?

12· · · · · Q· · Yes.

13· · · · · A· · He asked a series of questions.

14· ·I'm gonna assume that he -- this is what he

15· ·asked.

16· · · · · Q· · Right.· He indicates that you

17· ·denied feelings of hopelessness or

18· ·helplessness.· Do you recall that?

19· · · · · A· · Correct.

20· · · · · Q· · And he says that you are hopeful

21· ·about the future and would like things to work

22· ·out?

23· · · · · A· · Yes.

24· · · · · Q· · You recall saying that?

25· · · · · A· · Yes.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And that you denied any difficulty

·3· ·with impulse control, loss of temper,

·4· ·aggressive behavior or inappropriate behavior.

·5· ·Do you see that?

·6· · · · · A· · Right.

·7· · · · · Q· · And is that a true statement?

·8· · · · · A· · It's true.

·9· · · · · Q· · Second paragraph to the bottom of

10· ·that page, she denies having any type of

11· ·psychological difficulties and denies the need

12· ·for any type of psychological treatment.· Do

13· ·you see that?

14· · · · · A· · Correct.

15· · · · · Q· · Is that a true statement?

16· · · · · A· · At that time, correct.

17· · · · · Q· · What?

18· · · · · A· · He was asking me in the context of

19· ·that particular day, he started off a

20· ·conversation asking questions and I was

21· ·answering him in the context of that day.· In

22· ·that day, I was not feeling anxious.· At the

23· ·time I was more curious than anything as to why

24· ·I was being summoned.

25· · · · · Q· · Prior to July of 2014, had you


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·undergone any counseling, mental counseling?

·3· · · · · A· · Not that I -- no.

·4· · · · · Q· · No, or you don't recall?

·5· · · · · A· · I don't recall.

·6· · · · · Q· · Is it possible?

·7· · · · · A· · July 31st, I was still just trying

·8· ·to get around, so I don't think so.

·9· · · · · Q· · So the answer to the question was

10· ·you don't recall --

11· · · · · A· · I don't recall.· I was just still

12· ·trying to manage walking, you know, manage my

13· ·injury, so I wasn't really trying to travel

14· ·that much.

15· · · · · Q· · The question is not really

16· ·traveling.· Do you recall?

17· · · · · A· · But I would have to go someplace,

18· ·you know, so I really was just trying to manage

19· ·my injury during that period of time.

20· · · · · Q· · This would have been before your

21· ·injury of April of 2014.· At any time in your

22· ·life, have you undergone mental counseling or

23· ·treatment?

24· · · · · A· · Not that I recall.· I mean, I

25· ·think everybody talks to somebody.· I go to


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·church, I talk to my pastor.· You know, I think

·3· ·that's life.· That's normal.· But anything out

·4· ·of ordinary, I don't think so.

·5· · · · · Q· · So in terms of talking with a

·6· ·licensed social worker or psychologist or

·7· ·psychiatrist, you have not had that type of

·8· ·treatment before April of 2014?

·9· · · · · A· · I may have.

10· · · · · Q· · And who would that have been with?

11· · · · · A· · I don't know.· I just am not going

12· ·to say absolutely anything at this point.· You

13· ·know, it's been many years, so to have to

14· ·remember every little detail of your life, so

15· ·anything's possible.

16· · · · · Q· · I am going to show you what's

17· ·marked as CC, which is a notice of claim.

18· · · · · A· · Okay.

19· · · · · Q· · Bates stamped 129, 130.

20· · · · · · · ·(Mr. Sweeney hands document

21· · · · · to witness.)

22· · · · · A· · Okay.

23· · · · · Q· · Do you recall what that is?

24· · · · · A· · This is a notice of claim that

25· ·was --


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Did you provide a copy of that

·3· ·notice of claim to anyone at the police

·4· ·department?

·5· · · · · A· · I didn't provide any copies of --

·6· ·these are legal documents that was drafted by

·7· ·my attorney, so they would have provided the

·8· ·copies to whom they deemed necessary.· I didn't

·9· ·provide any copies.

10· · · · · Q· · And who was the attorney that

11· ·helped you draft that?

12· · · · · A· · This was Patricia Mulligan, right,

13· ·Patricia Mulligan.

14· · · · · Q· · So you did not provide a copy of

15· ·that to anyone at the police department, is

16· ·that correct?

17· · · · · A· · No.

18· · · · · Q· · I am going to show you three

19· ·documents, MM, NN and OO, and they are Bates

20· ·stamped 190, 191, 192, 193, 194.

21· · · · · · · ·(Mr. Sweeney hands documents

22· · · · · to witness.)

23· · · · · A· · Right, okay.

24· · · · · Q· · The time frame those letters were

25· ·written appears to be in mid-July of 2014, is


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·that correct?

·3· · · · · A· · Correct.

·4· · · · · Q· · Why were those letters written?

·5· · · · · A· · Because I had requested from

·6· ·Commissioner Raynor to see -- as the Civil

·7· ·Service Law avails me, the opportunity to see

·8· ·any reports, complaints that were filed against

·9· ·me prior to responding to a fitness-for-duty.

10· · · · · · · ·And I requested him several times

11· ·and he -- and got no response.· So as of -- at

12· ·the time Nathan Edwards was commissioner of

13· ·Civil Service Department and Yuhanna Edwards

14· ·was the civil counsel member who has oversight

15· ·over the police department, and PBA President

16· ·Greg Addison.

17· · · · · · · ·I was simply trying to get

18· ·assistance in obtaining those complaints that

19· ·were -- that Commissioner Raynor alleged that

20· ·he used to come to the decision that I needed

21· ·to go to a fitness-for-duty.

22· · · · · Q· · Did you provide a copy of any of

23· ·those documents to the police department?

24· · · · · A· · I provided them to civil service,

25· ·PBA, PBA and civil service, yeah.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · But PBA is not in your chain of

·3· ·command, correct?

·4· · · · · A· · Right.

·5· · · · · Q· · So you didn't provide a copy of --

·6· · · · · A· · Well, beyond the chain of command,

·7· ·I was trying to get them from Commissioner

·8· ·Raynor.· So in order to -- to assist me after

·9· ·Commissioner Raynor, I went to those other

10· ·entities that would be able to -- that I

11· ·thought could assist me.

12· · · · · Q· · All right.· But the letters at

13· ·least to Mr. Edwards and to --

14· · · · · A· · Right, he's the commissioner of

15· ·civil service, and pursuant to Civil Service

16· ·Law, I was entitled to -- to be viewed, those

17· ·complaints, which I had not been.

18· · · · · Q· · The letters to Mr. Edwards, which

19· ·is NN, and the letters to Greg Addison, which

20· ·is OO, they contain allegations beyond just

21· ·asking for copies of the complaints, right?

22· ·You make certain allegations in those letters,

23· ·right?

24· · · · · A· · Yeah, these -- I recap different

25· ·issues that -- that I was experiencing that led


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·1· · · · · · · · · · · Carpenter

·2· ·up to the, being -- that led up to my request

·3· ·to see these complaints.

·4· · · · · Q· · Okay.· But you didn't provide

·5· ·copies of those letters to the then police

·6· ·commissioner or the deputy police commissioner

·7· ·or the captain?

·8· · · · · A· · These -- these have already been

·9· ·addressed.· These were -- these were -- these

10· ·things that were cited, had already been

11· ·addressed.

12· · · · · Q· · What do you mean, addressed?

13· · · · · A· · With the commissioner and through

14· ·the chain of command.

15· · · · · Q· · How were they addressed?

16· · · · · A· · You know, through different types

17· ·of reports that I filed and through different

18· ·reports that I filed.· These had already been

19· ·addressed.

20· · · · · Q· · Okay.· Can I get those back?

21· · · · · · · ·(Witness hands document

22· · · · · to Mr. Sweeney.)

23· · · · · Q· · I show you what's been marked as

24· ·AA and BB, which appear to be e-mails to and

25· ·from Mr. Garafola.


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·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·(Mr. Sweeney hands documents

·3· · · · · to witness.)

·4· · · · · A· · Right, okay, okay.

·5· · · · · Q· · Without getting into specifics of

·6· ·what you and Mr. Garafola discussed, what was

·7· ·the purpose of that communication with

·8· ·Mr. Garafola?

·9· · · · · A· · It was simply to follow up e-mail

10· ·because I had not heard from him.

11· · · · · Q· · Were you contacting him with

12· ·respect to your 207 case or with respect to an

13· ·harassment issue?

14· · · · · A· · Well, as the PBA attorney, he

15· ·covers all of that.

16· · · · · Q· · Specifically what harassment issue

17· ·were you --

18· · · · · A· · Isn't that attorney-client

19· ·privilege?

20· · · · · Q· · Well, I don't want to get into the

21· ·communications you had with Mr. Garafola, but I

22· ·think I am entitled to know the subject matter

23· ·of what you were conveying.

24· · · · · · · ·MR. SMITH:· Object to privilege.

25· · · · · · · ·MR. SWEENEY:· Well, not for


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · nothing, I think the privilege has been

·3· · · · · blown because she produced the document.

·4· · · · · · · ·MR. SMITH:· In terms of the words

·5· · · · · in the e-mails.

·6· · · · · · · ·MR. SWEENEY:· What I am referring

·7· · · · · to is in the subject matter of the

·8· · · · · e-mail.· It says harassment or something

·9· · · · · like that, right?

10· · · · · · · ·MR. SMITH:· You can answer in

11· · · · · terms of the context of these e-mails.

12· · · · · Repeat the question, I'm sorry.

13· · · · · · · ·(The record is read back by the

14· · · · · reporter.)

15· · · · · Q· · In this context, Sergeant

16· ·Carpenter, you made a claim of gender

17· ·discrimination against the city of Mount

18· ·Vernon, and I don't know if you allege general

19· ·harassment, if there is such a thing.· Were you

20· ·communicating with respect to racial

21· ·harassment, gender harassment, some other type

22· ·of offensive treatment?

23· · · · · A· · Yes, I was.

24· · · · · Q· · Which one of the above?

25· · · · · A· · Gender, racial.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And then from the words set forth

·3· ·on those documents, it appears that you believe

·4· ·that Mr. Garafola was conflicted out of

·5· ·representing you based on his relationship with

·6· ·Lieutenant Hunce?

·7· · · · · A· · Now what's the question?

·8· · · · · · · ·MR. SWEENEY:· Can you read it

·9· · · · · back?

10· · · · · · · ·(The record is read back by the

11· · · · · reporter.)

12· · · · · A· · What do you mean by conflicted

13· ·out?

14· · · · · Q· · I think you used the word conflict

15· ·of interest, so I was just asking you what you

16· ·meant by that.

17· · · · · A· · Because he was related to

18· ·Lieutenant Hunce, who was on the PBA board at

19· ·the time.

20· · · · · Q· · So Attorney Garafola was

21· ·conflicted out from representing you in this

22· ·harassment issue because of his conflict with

23· ·Lieutenant Hunce?

24· · · · · A· · I didn't say that.

25· · · · · · · ·MR. SMITH:· Can you repeat that


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·1· · · · · · · · · · · Carpenter

·2· · · · · last question?

·3· · · · · · · ·(The record is read back by the

·4· · · · · reporter.)

·5· · · · · Q· · And you said I didn't say that.

·6· · · · · A· · I didn't say he was conflicted

·7· ·out.· I needed -- I was asking him for a

·8· ·response regarding what appears to be a

·9· ·conflict of interest as the PBA attorney.

10· · · · · Q· · And his response is set forth on

11· ·Exhibit BB?

12· · · · · A· · Okay.· So his response is that --

13· ·and this is dated April 14th.· His response was

14· ·is beyond reason -- his response was, Since you

15· ·have elected to proceed on your own, which I

16· ·did not, he's the only PBA attorney of record

17· ·representing the PBA, so I could not respond on

18· ·my own.· He was the only person that I could

19· ·have to represent me.· But he wrote it anyway:

20· ·Since you have elected to proceed on your own,

21· ·I respectfully decline to represent your

22· ·interests without the PBA board's direct

23· ·approval.

24· · · · · Q· · All right.· I can take those back.

25· · · · · · · ·(Witness hands document


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · to Mr. Sweeney.)

·3· · · · · Q· · The first sentence of his response

·4· ·to you says, It is beyond reason that you feel

·5· ·that since I am related to Lieutenant Hunce, it

·6· ·would somehow influence my representation as

·7· ·attorney for the Mount Vernon PBA.· Do you see

·8· ·that?

·9· · · · · A· · That's his opinion.

10· · · · · Q· · Okay.· I am just --

11· · · · · · · ·MR. SMITH:· Just answer the

12· · · · · question.

13· · · · · · · ·THE WITNESS:· Yes.

14· · · · · Q· · I am going to show you what's

15· ·marked as Exhibit RR, which is Bates stamped

16· ·277.

17· · · · · · · ·(Mr. Sweeney hands document

18· · · · · to witness.)

19· · · · · A· · Yes.

20· · · · · Q· · Do you know what that is?

21· · · · · A· · This is my response to Captain

22· ·Hastings regarding his accusation that I

23· ·accessed personnel files.

24· · · · · Q· · And in that response you indicate

25· ·that you were accessing the AS400, the


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·computer, for a very limited purpose, is that

·3· ·right?

·4· · · · · A· · Yes.

·5· · · · · Q· · It was just to get, I think you

·6· ·described as pedigree information, is that

·7· ·right?

·8· · · · · A· · Yes.

·9· · · · · Q· · And pedigree with respect to date

10· ·of hire, I think you said tenure, is that

11· ·right?

12· · · · · A· · Yes.

13· · · · · Q· · Why would you need that

14· ·information for Commissioner Raynor?

15· · · · · A· · I was doing a report with regard

16· ·to submitting a report to Commissioner Bell,

17· ·and it was relevant to the report I was filing

18· ·at the time.

19· · · · · Q· · And what report was that?

20· · · · · A· · The report I was filing with

21· ·regard to Officer              .

22· · · · · Q· · So in order to process the report

23· ·for Officer            , you needed to get the

24· ·police commissioner's pedigree information?

25· · · · · A· · I was -- I was looking for a time
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·1· · · · · · · · · · · Carpenter

·2· ·frame, and since we changed administration so

·3· ·much, I just wanted to make sure that he was

·4· ·the appropriate person that I was gonna be

·5· ·sending it to.

·6· · · · · Q· · Okay.· I can take that back.

·7· · · · · · · ·(Witness hands document

·8· · · · · to Mr. Sweeney.)

·9· · · · · Q· · I am going to show you what's been

10· ·marked as Defendants' Exhibit SS, which starts

11· ·at Bates stamped 282.

12· · · · · · · ·(Mr. Sweeney hands document

13· · · · · to witness.)

14· · · · · A· · Okay.· This is response from the

15· ·EEOC New York district office, that they

16· ·received the charge of employment

17· ·discrimination against the above-named

18· ·respondent, City of Mount Vernon.

19· · · · · Q· · Do you recall receiving a copy of

20· ·that?

21· · · · · A· · I believe I did.· The attorneys

22· ·did.· I usually rely on them.

23· · · · · Q· · Did you provide a copy of that to

24· ·anyone at the police department?

25· · · · · A· · No, that wouldn't be something


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·1· · · · · · · · · · · Carpenter

·2· ·that I would do.

·3· · · · · Q· · Okay.

·4· · · · · · · ·(Witness hands document

·5· · · · · to Mr. Sweeney.)

·6· · · · · Q· · Thanks.

·7· · · · · · · ·In your complaint at Paragraph 66,

·8· ·you refer to a subpoena for your bank records

·9· ·that was done by Internal Affairs?

10· · · · · A· · Right.

11· · · · · Q· · Can you tell me about that

12· ·allegation?

13· · · · · A· · I was notified by the bank that

14· ·my -- that they received a subpoena for my bank

15· ·records.

16· · · · · Q· · Who did you speak with at the bank

17· ·about that?

18· · · · · A· · I don't know who exactly.

19· · · · · Q· · Do you recall what they told you

20· ·and what you said back to them at the bank?

21· · · · · A· · They said that they -- they have

22· ·received a subpoena, and there was a period of

23· ·time -- I don't know, they just -- they sent me

24· ·something in the mail, and I turned it over to

25· ·the PBA attorney at the time.


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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And who was that?

·3· · · · · A· · That was John D'Alessandro.· We

·4· ·had a different PBA attorney.

·5· · · · · Q· · Did you learn anything

·6· ·subsequently about why Internal Affairs was

·7· ·trying to get your banking records?

·8· · · · · A· · No.

·9· · · · · Q· · Is that still the case today?

10· · · · · A· · Yeah.

11· · · · · Q· · Was your credit history or any

12· ·other aspect of your financial life impacted by

13· ·this subpoena of your bank records?

14· · · · · A· · Impacted by the subpoena?· Not

15· ·that I know of.

16· · · · · Q· · It didn't show up on a credit

17· ·report or anything, did it?

18· · · · · A· · Not that I know of.

19· · · · · Q· · What time frame or what date or

20· ·month did you return back to work following

21· ·your line-of-duty injury?

22· · · · · A· · January of 2016.

23· · · · · Q· · And you have been continuously

24· ·employed since then?

25· · · · · A· · Yes.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · Have you tested for promotions

·3· ·since then?

·4· · · · · A· · Not since then.· There has not

·5· ·been a promotional exam.

·6· · · · · Q· · Have you received discipline since

·7· ·returning to work?

·8· · · · · A· · Yes.

·9· · · · · Q· · What discipline have you received?

10· · · · · A· · Well, I was presented with

11· ·departmental charges in February 2017.

12· · · · · Q· · And what's the status of that

13· ·discipline?

14· · · · · A· · I have no idea.

15· · · · · Q· · You have not gotten a hearing yet?

16· · · · · A· · I have not gotten a hearing.

17· · · · · Q· · Do you have an attorney for that

18· ·proceeding?

19· · · · · A· · Yes.

20· · · · · Q· · Who is the attorney?

21· · · · · A· · Well, I don't actually -- no, I

22· ·don't.· I was presented with the charges, and

23· ·then I was told that it had to go to the law

24· ·department.· So I don't have an attorney as of

25· ·yet.· I'm waiting to see what the next step is


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·1· · · · · · · · · · · Carpenter

·2· ·according to the rules and regs.· They supposed

·3· ·to -- once they present, they supposed to give

·4· ·me a date and hearing, and that didn't happen.

·5· · · · · Q· · What's the basis for the

·6· ·discipline?

·7· · · · · A· · E-mails that I sent with trying to

·8· ·encourage the department to focus on the 21st

·9· ·Century Policing Initiative that Captain

10· ·Adinaro deemed was worthy of departmental

11· ·charges.

12· · · · · Q· · What time frame were these e-mails

13· ·sent?

14· · · · · A· · I was assigned the 21st Century

15· ·Policing Initiative in January.· I sent the

16· ·e-mails.· They went from -- he picked from

17· ·incident -- different aspects of my e-mails all

18· ·the way up, I believe until December 2016.

19· · · · · Q· · You are claiming damages as a

20· ·result of the city's actions, is that correct?

21· · · · · A· · Yes.

22· · · · · Q· · What damages are you claiming?

23· · · · · A· · Extensive damages, extensive

24· ·damages to my reputation, my ability to

25· ·supervise, and just emotional stress, my


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·physical health, the impact on my family, my

·3· ·financial -- my finances.· It was -- it was

·4· ·impacted tremendously.

·5· · · · · Q· · So with respect to damages to your

·6· ·reputation, what damages to your reputation are

·7· ·you claiming?

·8· · · · · A· · That the -- the -- the department

·9· ·and Captain Goldman and -- you know, by

10· ·conveying to members of the department that I

11· ·lied, that I refused to cooperate with my 207-C

12· ·investigation made me out to be a liar, which

13· ·was not true.

14· · · · · · · ·By leaking the process, my --

15· ·my -- my communication with regard to 207-C was

16· ·only with the Lieutenant Nawrocki, who was up

17· ·in at the time Captain Goldman, Raynor.· But

18· ·yet they spoke with other members of the

19· ·department.· And that gave -- that impacted my

20· ·relationships throughout the department as

21· ·though I was a liar, which was, you know, not

22· ·the truth.

23· · · · · · · ·I just simply fell.· I just needed

24· ·to get treated so I can get back to work.· And

25· ·that impacted my relationship tremendously.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·The stress, the physical

·3· ·disability of the injury exacerbated over that

·4· ·period of time, impacted my relationship with

·5· ·my daughter.· I go to the gym to work out.              I

·6· ·couldn't work out.· I couldn't go hiking.              I

·7· ·couldn't do all the things with my daughter

·8· ·that I usually do.

·9· · · · · · · ·It impacted my family, and it did

10· ·result in a lot of mental anguish and

11· ·frustration and depression, especially when all

12· ·you want to do is do the job.

13· · · · · Q· · You mentioned or testified that

14· ·your 207 information was leaked or told to

15· ·others in the department, is that right?

16· · · · · A· · Yes.

17· · · · · Q· · Who was told?

18· · · · · A· · Now Sergeant Quinoy, at the time

19· ·he was PBA, you know -- he -- during this time,

20· ·he became PBA president.· And he said that he

21· ·was told that I was uncooperative and

22· ·wouldn't -- I refused to go see the doctor.

23· · · · · · · ·And that -- and that information

24· ·was false, and that was not true, and that

25· ·impacted the support that I got from the PBA


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·1· · · · · · · · · · · Carpenter

·2· ·because they were lied to.

·3· · · · · · · ·And there was no reason to even

·4· ·discuss that with them on that level 'cause I

·5· ·absolutely wasn't.· I was as cooperative as I

·6· ·possibly could be.

·7· · · · · Q· · You wrote to Greg Addison --

·8· · · · · A· · Yes.

·9· · · · · Q· · -- at the PBA about your 207 case,

10· ·right?

11· · · · · A· · Right.· That was before he

12· ·changed.· And not only did I write to him but,

13· ·you know, as you saw, Captain Goldman said that

14· ·by the investigation was being -- the

15· ·determination's being held in abeyance because

16· ·until they get my medical records and IME.

17· · · · · · · ·I waited.· I had scheduled the

18· ·surgery, the surgery date.· I informed them

19· ·over and over again that I need my surgery.

20· ·And -- and then the surgery date comes and I

21· ·can't get the surgery.

22· · · · · · · ·And I find out from the doctor

23· ·they never even requested my medical records.

24· ·They never even requested them.· So how are you

25· ·conducting an investigation?· You gonna have me


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·1· · · · · · · · · · · Carpenter

·2· ·out there with this bad knee (indicating),

·3· ·okay, and you can't even -- and I find out that

·4· ·my medical records weren't even requested,

·5· ·okay?

·6· · · · · · · ·So I went to the doctor, got the

·7· ·medical records and met Greg Addison and hand

·8· ·delivered them to him so that he can give them

·9· ·to Goldman to speed up the process.

10· · · · · · · ·All I wanted to do was to come

11· ·back to work.· But more importantly, I just

12· ·wanted to get my surgery.· And that's what I

13· ·did.

14· · · · · · · ·And all of this stress, it was --

15· ·it was -- I couldn't believe it when they told

16· ·me they never even requested it.· If they had

17· ·sent me to an IME, they would have found out.

18· ·And somebody physically examined me, they would

19· ·have found out differently.· But they had some

20· ·radiologist that never even examined me make a

21· ·determination that impacts my entire life and

22· ·my recovery.

23· · · · · · · ·It's just -- I don't -- I don't

24· ·know what anybody -- what I did other than want

25· ·to work hard and -- and make a contribution


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·1· · · · · · · · · · · Carpenter

·2· ·that resulted in me almost being crippled for

·3· ·the rest of my life.

·4· · · · · Q· · Are you crippled for the rest of

·5· ·your life?

·6· · · · · A· · It has an impact.· I don't --

·7· ·there's not a day that goes by -- there's a

·8· ·fear that my legs's gonna give out.· There's a

·9· ·fear.· I -- I live with that.· I'm used to

10· ·running up and down in the projects, you know,

11· ·with everybody else.

12· · · · · · · ·I -- I loved to work out.· I was

13· ·an active person.· And you don't know how that

14· ·feels, to think for one minute one false move

15· ·and you can't get out of that car and run.

16· · · · · Q· · You were cleared to return to work

17· ·full duty, is that right?

18· · · · · A· · Yes, but the delay in the surgery

19· ·impacted the -- the prognosis.· I wouldn't

20· ·treat them like that.

21· · · · · Q· · You indicated your emotional

22· ·health was been impacted?

23· · · · · A· · Yes.

24· · · · · Q· · How so?

25· · · · · A· · Well, I mean, after a while, not


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·knowing what to expect, coming to work every

·3· ·day, trying to stay positive, enthusiastic.

·4· ·And every day it was always something, you

·5· ·know.· And then I come -- then being out that

·6· ·whole time, you know, you're isolated.· You're

·7· ·just -- you're just basically left to whatever

·8· ·it is that they saying about you, and you just

·9· ·waiting.· And it just disrupted my entire life.

10· · · · · Q· · Are you or were you treating with

11· ·a Mark Chatkin?

12· · · · · A· · I'm sorry?

13· · · · · Q· · Were you treating with somebody?

14· · · · · A· · Yes.

15· · · · · Q· · Who are you treating with?

16· · · · · A· · Mr. Chatkin.· I don't know why --

17· · · · · Q· · C-H-A-T-K-I-N?

18· · · · · A· · Chatkin, C-H-A-T-K-I-N.

19· · · · · Q· · What are you treating for?

20· · · · · A· · I needed to see somebody.· He's a

21· ·therapist.

22· · · · · Q· · When did you start treating with

23· ·Mr. Chatkin?

24· · · · · A· · 2000 -- 2015.

25· · · · · Q· · What month in 2015?


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · It might have -- it was maybe

·3· ·July -- no, no, it might have been a little bit

·4· ·earlier than that.

·5· · · · · Q· · Has Mr. Chatkin diagnosed you with

·6· ·any issues?

·7· · · · · A· · No.

·8· · · · · Q· · What do you mean, no?

·9· · · · · A· · Well, I see him and -- but as far

10· ·as a diagnosis?

11· · · · · Q· · Well, I assume he is treating you

12· ·for some issue, right?

13· · · · · A· · Yes.

14· · · · · Q· · What issue is he treating you for?

15· · · · · A· · For depression.

16· · · · · Q· · Has he --

17· · · · · A· · Post-traumatic stress.

18· · · · · Q· · Has he prescribed you certain

19· ·medications?

20· · · · · A· · No.

21· · · · · Q· · I think you said three things; you

22· ·said depression, PTSD, or post-traumatic stress

23· ·disorder, and sleep?

24· · · · · A· · No, sleep is fine.

25· · · · · Q· · So depression and PTSD?


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Yes.

·3· · · · · Q· · Do you know how is it that

·4· ·Mr. Chatkin was able to diagnose you with PTSD?

·5· · · · · A· · I don't know what you mean, you

·6· ·say diagnose.· But I continue to see him.

·7· · · · · Q· · Right.

·8· · · · · A· · So I don't know what you mean by

·9· ·that.· I don't understand the question.

10· · · · · · · ·MR. SMITH:· Just ask him if --

11· · · · · Q· · Usually a medical provider --

12· · · · · A· · Like, if you go to -- right, you

13· ·know, they say you have a torn meniscus, right.

14· · · · · Q· · Right.

15· · · · · A· · We haven't --

16· · · · · Q· · Using that example, the

17· ·diagnosis --

18· · · · · A· · It's almost like --

19· · · · · · · ·MR. SMITH:· Just wait until he

20· · · · · finishes the question.

21· · · · · Q· · Using your analysis, the diagnosis

22· ·for an orthopedic treating for your knee

23· ·injury, which is my diagnosis is a torn

24· ·meniscus?

25· · · · · A· · Right.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And he prescribes either therapy

·3· ·or surgery or medications for that condition?

·4· · · · · A· · Right.

·5· · · · · Q· · So similarly, I am asking you

·6· ·questions about what Mr. Chatkin is treating

·7· ·you for.· Has he made a diagnosis of your

·8· ·mental issues or condition?

·9· · · · · A· · He hasn't -- you would have to ask

10· ·him.

11· · · · · Q· · I did.· I did.· And I can't get

12· ·any records from him so --

13· · · · · · · ·MR. SMITH:· Object to form.

14· · · · · · · ·MR. SWEENEY:· It is not really a

15· · · · · question, it is a statement.

16· · · · · Q· · So just not to beat this to a

17· ·bloody pulp here, has Mr. Chatkin told you what

18· ·he believes that you suffer from, if anything?

19· · · · · A· · He -- he may have, but I've been

20· ·seeing him for so long that it's not like --

21· ·and because like you said there's no -- there's

22· ·no prescription, there's no medication or

23· ·anything like that, but I just see him weekly

24· ·for just a session.

25· · · · · Q· · So you have seen him weekly since


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·1· · · · · · · · · · · Carpenter

·2· ·July of or whenever in 2015?

·3· · · · · A· · Right, I think it's -- July of

·4· ·2015, I don't think I saw him 'cause I had the

·5· ·surgery in June.· I was kind of laid up for a

·6· ·while.· So I think it was maybe May and then

·7· ·September or something.

·8· · · · · Q· · All right.

·9· · · · · A· · I could find out exactly.

10· · · · · Q· · What do these weekly sessions

11· ·consist of?

12· · · · · A· · Consists of him, Okay, what's

13· ·going on.· And just a lot of times, what

14· ·happens is, he helps me to focus.· Because it

15· ·will just be a lot of stress and just a lot of

16· ·things going on.

17· · · · · Q· · All right.

18· · · · · A· · And he just pretty much -- he

19· ·just -- he helps me to -- to stay balanced.

20· · · · · Q· · Is Mr. Chatkin treating you solely

21· ·for issues from work or other issues in your

22· ·life?

23· · · · · A· · Well, other issues come up.

24· · · · · Q· · Are there            other stressors in

25· ·your life other than work?
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · Oh, yeah, just -- yeah, just being

·3· ·a mom is a stressor.

·4· · · · · Q· · Anything else besides being a

·5· ·mother?

·6· · · · · A· · There's -- there's other things

·7· ·that come up.

·8· · · · · Q· · Can you be more specific?

·9· · · · · A· · I went through a few family

10· ·issues, illnesses, different types of things.

11· · · · · Q· · Do you receive counseling for any

12· ·marital issues or stresses?

13· · · · · A· · No, but I've shared that with him.

14· · · · · Q· · You shared it with him?

15· · · · · A· · (Indicating).

16· · · · · · · ·MR. SMITH:· Say yes.

17· · · · · · · ·THE WITNESS:· Yes, I'm sorry.

18· · · · · Q· · And I don't mean to pry, Sergeant

19· ·Carpenter, but you are the one that's made a

20· ·claim alleging mental injuries, so I have to

21· ·ask you the questions.

22· · · · · · · ·What have you shared with him

23· ·vis-à-vis regarding your marital issues?

24· · · · · A· · That I separated -- that I --

25· ·the -- the challenges of trying to balance


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·1· · · · · · · · · · · Carpenter

·2· ·having him understand different things at work

·3· ·and -- and the challenges of dealing with the

·4· ·change in lifestyle.

·5· · · · · Q· · What change in lifestyle, the

·6· ·separation?

·7· · · · · A· · Yes, it relates to my daughter.

·8· · · · · Q· · You mentioned also family issues

·9· ·and illnesses.· What specific --

10· · · · · A· · I had two -- well, I had a sister

11· ·pass from cancer.

12· · · · · Q· · I'm sorry to hear that.

13· · · · · A· · And then right after that, my

14· ·older sister, another sister who has multiple

15· ·sclerosis just started -- she appeared to be --

16· ·she also suffered breast cancer, and it just --

17· ·everything was happening at once.· But she's

18· ·recovering.

19· · · · · Q· · Besides Mark Chatkin, have you

20· ·treated with any other provider, social worker,

21· ·a psychologist --

22· · · · · A· · No.

23· · · · · Q· · -- psychiatrist?

24· · · · · · · ·Has Mr. Chatkin recommended that

25· ·you see anybody else?


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · No.

·3· · · · · Q· · And you mentioned that you see him

·4· ·on a weekly basis.· Is that still true today?

·5· · · · · A· · Pretty much.

·6· · · · · Q· · Do you bill that to your major

·7· ·medical insurance from the city?

·8· · · · · A· · Yes.

·9· · · · · Q· · Is there any co-pay for that?

10· · · · · A· · Yes, it is.

11· · · · · Q· · How much of a co-pay?

12· · · · · A· · It's $20.

13· · · · · Q· · Is Mr. Chatkin in network or out

14· ·of network?

15· · · · · A· · He's in network.

16· · · · · Q· · I think you mentioned also,

17· ·Sergeant Carpenter, a financial impact?

18· · · · · A· · Yeah.

19· · · · · Q· · What financial impact has this

20· ·caused you?

21· · · · · A· · I almost lost my house.· My, you

22· ·know -- the loss of a salary is significant for

23· ·any family; my mortgage, my credit rating is --

24· ·is horrible.· I lived off of credit cards for a

25· ·period of time.


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·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·My daughter, she was used to going

·3· ·to particular camp.· Couldn't afford to send

·4· ·her to a different camp, and that was a big

·5· ·deal for her.· It didn't give her the -- the

·6· ·type of activities and that she was used to.

·7· · · · · · · ·I -- my car broke down and I -- I

·8· ·had to manage for a while without a car.· And

·9· ·my daughter, I had -- I did everything right; I

10· ·put away money for her college.· She's only 11.

11· ·And from the time, you know, she was born, I

12· ·ended up using it to live off of.· And then

13· ·that denied her things, and I still have to

14· ·put -- put that money back.· It just -- just --

15· ·it just put me in a crisis.

16· · · · · Q· · When you first went out of work in

17· ·April of 2014, you would have been I think

18· ·exhausting sick leave accrual?

19· · · · · A· · Yes.

20· · · · · Q· · And maybe vacation accruals?

21· · · · · A· · Yes.

22· · · · · Q· · And personal leave, if you had

23· ·any?

24· · · · · A· · I had some personal leave.

25· · · · · Q· · There came a point when those


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·accruals ran out?

·3· · · · · A· · The sick time ran out.· I didn't

·4· ·use the vacation time because I honestly

·5· ·believed that I was gonna be back to work in

·6· ·you know, no time.

·7· · · · · · · ·So I didn't -- I had already

·8· ·scheduled vacation around my daughter's school,

·9· ·and that's when I usually take it.· So I didn't

10· ·take advantage of the vacation time, because I

11· ·thought this is just gonna be a couple of

12· ·months, and then I'll be back to work.· But

13· ·that didn't happen.

14· · · · · Q· · How much vacation time was

15· ·available to you that you didn't use?

16· · · · · A· · It was about eight days.· It

17· ·wasn't a lot.

18· · · · · Q· · A little more than a week, okay,

19· ·week and a half.

20· · · · · · · ·How much sick time did you expend?

21· · · · · A· · I exhausted my sick time.

22· · · · · Q· · I know.· How many days was that?

23· ·What time frame did it run out?

24· · · · · A· · Oh, it ran out June 1st.

25· · · · · Q· · Of 2014?


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · '14.

·3· · · · · Q· · So you were unpaid from sometime

·4· ·in June of 2014 until you returned to work in

·5· ·January?

·6· · · · · A· · 2016.

·7· · · · · Q· · 2016?

·8· · · · · A· · Right.

·9· · · · · Q· · You mentioned I think finally,

10· ·there was an effect on your family?

11· · · · · A· · Yeah.

12· · · · · Q· · What effect was that?

13· · · · · A· · Well, I clearly was stressed out.

14· ·And as time was going on, my daughter, when she

15· ·went -- returned back to school, she was an A

16· ·student.· Her grades started to suffer.· She

17· ·started to take on this thing like she had to

18· ·take care of me or something.· It just -- and

19· ·she just didn't understand what was going on,

20· ·and our life was a lot different.

21· · · · · Q· · Do you need to take a few minutes?

22· · · · · · · ·MR. SMITH:· We can take a break.

23· · · · · · · ·(Whereupon, at this time, a brief

24· · · · · recess was taken.)

25· · · · · · · ·MR. SWEENEY:· Can you read the


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·1· · · · · · · · · · · Carpenter

·2· · · · · last question back?

·3· · · · · · · ·(The record is read back by the

·4· · · · · reporter.)

·5· · · · · Q· · So I was generally asking just

·6· ·about impact on your family, and you gave that

·7· ·response.· Was there anything else you wanted

·8· ·to add to that?

·9· · · · · A· · No.

10· · · · · Q· · There is no allegation that your

11· ·marriage was affected by whatever you

12· ·experienced?

13· · · · · A· · My marriage was been affected by

14· ·it, by the job.

15· · · · · Q· · In what respect has your marriage

16· ·been affected?

17· · · · · A· · It's just -- we don't -- we going

18· ·through a divorce.

19· · · · · Q· · Are you attributing it to this

20· ·incident, these incidents or something else?

21· · · · · A· · It's just a lot of things.

22· · · · · Q· · Well, I mean, to the extent that

23· ·you are attributing your marital

24· ·difficulties --

25· · · · · A· · The stress and just not being able


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·to communicate.

·3· · · · · Q· · When did you and your husband

·4· ·first separate, physically separate?

·5· · · · · A· · Physically separate?· That was --

·6· ·I -- 2010.

·7· · · · · Q· · 2010?

·8· · · · · A· · Is that right?· No, that's not

·9· ·true.· We're in 2017?

10· · · · · Q· · Right.

11· · · · · A· · So 2013.

12· · · · · Q· · What month in 2013?

13· · · · · A· · I don't know.

14· · · · · Q· · Was it the winter, summer, fall?

15· · · · · A· · It was the summer.

16· · · · · Q· · So fair to say before any issues

17· ·with the city first started?

18· · · · · A· · Before I fell.

19· · · · · Q· · Any other impacts on your life or

20· ·any other damages that you are claiming because

21· ·of this?

22· · · · · A· · Just the quality of my life,

23· ·just -- just the lack of freedom to move

24· ·forward.· Every time -- because of this, I've

25· ·been put into this holding pattern where


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·everything is associated with me through this.

·3· ·And every time I try to turn the page, it seems

·4· ·like I'm -- like -- like I did something wrong

·5· ·and that I feel like I'm being held hostage to

·6· ·it.

·7· · · · · · · ·I'm measured against this whole

·8· ·process where I didn't even want this to

·9· ·happen.· I repeatedly just asked for a

10· ·conversation, just so we can clear the air

11· ·about things, and then it just escalated into

12· ·this.

13· · · · · · · ·And so it just -- there just seem

14· ·to be commitments to stay stuck in a mindset

15· ·that just prevents me from moving forward.

16· · · · · Q· · You filed the first complaint with

17· ·the city with human resources I guess in

18· ·February of 2014, is that correct?

19· · · · · A· · Yeah, she was supposed to just

20· ·investigate it.· And she was going -- it was

21· ·supposed to be confidential.· And again, I

22· ·really just wasn't, you know -- she was

23· ·supposed to be like an intermediary to help

24· ·resolve, and she didn't.· She just gave the

25· ·complaint over, and then everybody got pissed


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·1· · · · · · · · · · · Carpenter

·2· ·and everything, retaliation and everything --

·3· ·escalated.

·4· · · · · Q· · How do you know that she, meaning

·5· ·Judy Williams, turned it over to the police

·6· ·department?

·7· · · · · A· · She said that.

·8· · · · · Q· · When did she say that?

·9· · · · · A· · I asked her.· It might even be in

10· ·the text messages.· I kept asking her what's

11· ·going on with the investigation, what's going

12· ·on?· And then finally she said, I gave it to

13· ·them.· I gave it to Commissioner Raynor.

14· · · · · Q· · And that's in the text messages?

15· · · · · A· · I believe it is in the text

16· ·messages.· I kept asking, what is the deadline?

17· ·She says --

18· · · · · · · ·MR. SMITH:· Just refer to the

19· · · · · question being asked.

20· · · · · Q· · Looking at Defendants' Exhibit T,

21· ·which is the texts between January and June of

22· ·2014, is there a particular text in which you

23· ·believe Judy Williams affirms that she gave

24· ·your complaint to the police department?

25· · · · · A· · Okay, okay.· On 79, on 79, I'm


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·1· · · · · · · · · · · Carpenter

·2· ·texting her.· And I said I could only answer it

·3· ·by stating I have no recollection at this time

·4· ·this was done, da, da, da.· It says, You on the

·5· ·other hand have turned my complaint over to

·6· ·them for an undetermined time frame, allowing

·7· ·them an opportunity to collude.· So she gave it

·8· ·to them.· I'm just trying to --

·9· · · · · Q· · That's you saying that, right?

10· · · · · A· · That's me.

11· · · · · Q· · Right?

12· · · · · A· · That's me.

13· · · · · Q· · Does she say that?

14· · · · · A· · She -- because I remember being so

15· ·shocked, because that's not what she told me.

16· ·And she's the one that insisted on writing.

17· ·Okay, so maybe that's my response.· So I'm just

18· ·gonna assume maybe I spoke to her on the phone.

19· ·But at some point I came to -- she told me that

20· ·she turned the complaint over to them, and that

21· ·was my response.

22· · · · · Q· · You mentioned, I believe in

23· ·response to an earlier question, that a male

24· ·officer who was on 207-C who was given a ride

25· ·from work?


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·1· · · · · · · · · · · Carpenter

·2· · · · · A· · I'm sorry?

·3· · · · · Q· · Got a ride?

·4· · · · · A· · Yeah.

·5· · · · · Q· · Do you recall who that was?

·6· · · · · A· · At the time it was Sergeant

·7· ·Anthony Mitchell.· He was promoted the same

·8· ·time I was.

·9· · · · · Q· · And you mentioned that event was

10· ·documented in the Com Stat?

11· · · · · A· · I remember reading it in a --

12· ·that's how I became aware of it.

13· · · · · Q· · Do you have a copy of that Com

14· ·Stat documentation?

15· · · · · A· · No, it was at -- I just remember

16· ·just reading it.· It was at the desk, I

17· ·remember reading that.· And I'm trying to

18· ·remember why 'cause I was kind of surprised to

19· ·why would it be there.· But if I remember that

20· ·he was -- it was under Commissioner Bell.· And

21· ·at the time it was Lieutenant Scott, now

22· ·Lieutenant Scott, who was picking him up and

23· ·taking him -- transporting him to various

24· ·doctors' appointments and -- and Lieutenant

25· ·Scott was in Internal Affairs.


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·1· · · · · · · · · · · Carpenter

·2· · · · · Q· · And this is Sergeant Mitchell we

·3· ·are talking about?

·4· · · · · A· · Right.

·5· · · · · Q· · Was he awarded 207-C benefits?

·6· · · · · A· · I believe so.

·7· · · · · Q· · And you were not awarded 207-C

·8· ·benefits?

·9· · · · · A· · Right.

10· · · · · Q· · Okay.

11· · · · · A· · But this was the initial, you

12· ·know -- this was -- this was when I was just --

13· ·when I had first gotten injured.

14· · · · · Q· · In your complaint at Paragraphs 58

15· ·through 59, you indicate that you were denied a

16· ·request for return to work at light duty?

17· · · · · A· · Right.

18· · · · · Q· · Can you tell me about that

19· ·allegation?

20· · · · · A· · Well, I needed to get paid.· I was

21· ·waiting for a determination from the -- I had

22· ·just -- from the hearing, and I was able to get

23· ·clearance from the doctor that I could return

24· ·to work light duty since I had not had the

25· ·surgery yet.


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· · · · · · · ·So I did respond to headquarters,

·3· ·and then I got a phone call.· I gave them the

·4· ·doctor's note, and I got a phone call saying

·5· ·that I could not come back.

·6· · · · · Q· · Do you know why you were told you

·7· ·could not come back?

·8· · · · · A· · I was told because they didn't

·9· ·have an assignment.

10· · · · · Q· · An assignment or an assignment for

11· ·someone that was not injured in the line of

12· ·duty?

13· · · · · A· · An assignment for somebody that

14· ·they determined was not injured in the line of

15· ·duty.

16· · · · · Q· · Do you know of any other police

17· ·officer that was not injured in the line of

18· ·duty who was permitted to return to work at

19· ·light duty?

20· · · · · A· · Sergeant Rucci, R-U-C-C-I, he --

21· ·he worked light duty even though he was injured

22· ·off duty.

23· · · · · Q· · When was this that he was allowed

24· ·to work light duty?

25· · · · · A· · This was in 2016, actually.· This


                                                                             YVer1f
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·1· · · · · · · · · · · Carpenter

·2· ·is -- and then at the time -- I can't recall

·3· ·right now.

·4· · · · · Q· · What unit was Sergeant Rucci a

·5· ·part of?

·6· · · · · A· · Patrol.

·7· · · · · Q· · And you think he returned to work

·8· ·light duty in 2016?

·9· · · · · A· · Yes.

10· · · · · Q· · And he was not injured in the line

11· ·of duty?

12· · · · · A· · Correct.

13· · · · · · · ·MR. SWEENEY:· Okay, no further

14· · · · · questions.

15· · · · · · · ·(Time noted:· 3:30 p.m.)

16

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                                                                             YVer1f
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·1

·2· · · · · · A C K N O W L E D G E M E N T

·3

·4· ·STATE OF NEW YORK)

·5· · · · · · · · · · · ·: ss

·6· ·COUNTY OF· · · · )

·7

·8· · · · · · · I, JENNIFER CARPENTER, hereby

·9· ·certify that I have read the transcript of my

10· ·testimony taken under oath in my deposition of

11· ·March 27, 2017; that the transcript is a true,

12· ·complete and correct record of my testimony;

13· ·and that the answers on the record as given by

14· ·me are true and correct.

15

16· · · · · · · ________________________________

17· · · · · · · · · · ·JENNIFER CARPENTER

18

19

20· ·Signed and subscribed to

21· ·before me, this ____ day

22· ·of _______________, 2017.

23

24· ·________________________________

25· ·Notary Public, State of New York
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·1

·2· · · · · · · · · · · I N D E X

·3

·4· ·WITNESS· · · · · · · · · · · · · · · · PAGE

·5· ·             CARPENTER

·6· · · · · EXAMINATION BY:

·7· · · · · Mr. Sweeney· · · · · · · · · · · ·4

·8

·9· · · · · · · · · ·E X H I B I T S

10
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· · ·DOCUMENTS AND/OR
16· ·INFORMATION REQUESTED

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· · ·Previous phone if it still
19· ·exists· · · · · · · · · · · · · · ·127· 20

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·1

·2· ·STATE OF NEW YORK· · ·)
· · · · · · · · · · · · · ·) ss:
·3· ·COUNTY OF NEW YORK· · )

·4

·5

·6· · · · ·I, JUDY ROSENBERG, a Shorthand

·7· ·Reporter and Notary Public within and for the

·8· ·State of New York, do hereby certify:

·9· · · · ·That JENNIFER CARPENTER, the witness

10· ·whose examination is hereinbefore set forth,

11· ·was duly sworn by me and that this transcript

12· ·of such examination is a true record of the

13· ·testimony given by such witness.

14· · · · ·I further certify that I am not related

15· ·to any of the parties to this action by blood

16· ·or marriage and that I am in no way interested

17· ·in the outcome of this matter.

18

19

20

21· · · · · · _______________________________

22· · · · · · · · · ·JUDY ROSENBERG

23

24· · ·Dated:· March 30, 2017

25
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·1· ·Errata Sheet

·2

·3· ·NAME OF CASE: JENNIFER CARPENTER - against - CITY OF MOUNT VERNON

·4· ·DATE OF DEPOSITION: 03/27/2017

·5· ·NAME OF WITNESS: JENNIFER CARPENTER

·6· ·Reason Codes:

·7· · · · 1. To clarify the record.

·8· · · · 2. To conform to the facts.

·9· · · · 3. To correct transcription errors.

10· ·Page _____ Line ______ Reason ______

11· ·From ____________________ to ____________________

12· ·Page _____ Line ______ Reason ______

13· ·From ____________________ to ____________________

14· ·Page _____ Line ______ Reason ______

15· ·From ____________________ to ____________________

16· ·Page _____ Line ______ Reason ______

17· ·From ____________________ to ____________________

18· ·Page _____ Line ______ Reason ______

19· ·From ____________________ to ____________________

20· ·Page _____ Line ______ Reason ______

21· ·From ____________________ to ____________________

22· ·Page _____ Line ______ Reason ______

23· ·From ____________________ to ____________________

24

25· · · · · · · · · · · · · · ·_______________________
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